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                                                                               APPEAL,CAT B
                              U.S. District Court
                   District of Columbia (Washington, DC)
            CRIMINAL DOCKET FOR CASE #: 1:23−cr−00257−TSC−1

 Case title: USA v. TRUMP                             Date Filed: 08/01/2023

 Assigned to: Judge Tanya S.
 Chutkan

 Defendant (1)
 DONALD J. TRUMP               represented by John F. Lauro
                                              LAURO & SINGER
                                              400 N. Tampa Street
                                              15th Floor
                                              Tampa, FL 33602
                                              (813) 222−8990
                                              Fax: (813) 222−8991
                                              Email: jlauro@laurosinger.com
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED
                                              Designation: Retained

                                             Emil Bove
                                             BLANCHE LAW
                                             99 Wall Street, Suite 4460
                                             New York, NY 10005
                                             212−716−1250
                                             Email: emil.bove@blanchelaw.com
                                             ATTORNEY TO BE NOTICED
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                                             Filzah I. Pavalon
                                             LAURO & SINGER
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                                             Tampa, FL 33602
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                                             PRO HAC VICE
                                             ATTORNEY TO BE NOTICED
                                             Designation: Retained

                                             Todd Blanche
                                             BLANCHE LAW
                                             99 Wall Street
                                             New York, NY 10005
                                             (212) 716−1250

                                                                                              1
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                                          Email: toddblanche@blanchelaw.com
                                          PRO HAC VICE
                                          ATTORNEY TO BE NOTICED
                                          Designation: Pro Hac Vice

 Pending Counts                           Disposition
 18 U.S.C. 371; CONSPIRACY
 TO DEFRAUD THE UNITED
 STATES; Conspiracy to Defraud
 the United States
 (1)
 18 U.S.C. 1512(k);
 TAMPERING WITH WITNESS,
 VICTIM, OR AN INFORMANT;
 Conspiracy to Obstruct an
 Official Proceeding
 (2)
 18 U.S.C. 1512(c)(2), 2;
 TAMPERING WITH A
 WITNESS, VICTIM OR
 INFORMANT; Obstruction of,
 and Attempt to Obstruct, an
 Official Proceeding
 (3)
 18 U.S.C. 241; CONSPIRACY
 AGAINST RIGHTS OF
 CITIZENS; Conspiracy Against
 Rights
 (4)

 Highest Offense Level
 (Opening)
 Felony

 Terminated Counts                        Disposition
 None

 Highest Offense Level
 (Terminated)
 None

 Complaints                               Disposition
 None




                                                                               2
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 Plaintiff
 USA                                        represented by J.P. Cooney
                                                           U.S. ATTORNEY'S OFFICE FOR THE
                                                           DISTRICT OF COLUMBIA
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                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Assistant U.S. Attorney

                                                           James Pearce
                                                           U.S. DEPARTMENT OF JUSTICE
                                                           CRIMINAL DIVISION APPELLATE
                                                           SECTION
                                                           Department of Justice, Criminal Division
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                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Assistant U.S. Attorney

                                                           Molly Gulland Gaston
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                                                           DISTRICT OF COLUMBIA
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                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Assistant U.S. Attorney

                                                           Thomas Windom
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                                                           Washington, DC 20530
                                                           202−252−7846
                                                           Email: thomas.windom@usdoj.gov
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Assistant U.S. Attorney

  Date Filed   #   Docket Text
  08/01/2023   1   INDICTMENT as to DONALD J. TRUMP (1) count(s) 1, 2, 3, 4. (zltp) (Entered:
                   08/01/2023)


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  08/01/2023   3    MOTION to Seal Case by USA as to DONALD J. TRUMP. (Attachments: # 1 Text
                    of Proposed Order)(zltp) (Entered: 08/01/2023)
  08/01/2023   4    ORDER granting 3 Motion to Seal Case as to DONALD J. TRUMP (1). Signed by
                    Magistrate Judge Moxila A. Upadhyaya on 8/1/2023. (zltp) (Entered: 08/01/2023)
  08/01/2023        Case unsealed as to DONALD J. TRUMP (zltp) (Entered: 08/01/2023)
  08/03/2023   5    NOTICE OF ATTORNEY APPEARANCE: John F. Lauro appearing for DONALD
                    J. TRUMP (Lauro, John) (Entered: 08/03/2023)
  08/03/2023   7    MOTION for Leave to Appear Pro Hac Vice Todd Blanche Filing fee $ 100, receipt
                    number ADCDC−10252226. Fee Status: Fee Paid. by DONALD J. TRUMP. (Lauro,
                    John) (Entered: 08/03/2023)
  08/03/2023   8    Summons Returned Executed on 8/3/2023 as to DONALD J. TRUMP. (ztl) (Entered:
                    08/04/2023)
  08/03/2023        MINUTE ORDER as to Donald J. Trump: As required by Rule 5(f), the United States
                    is ordered to produce all exculpatory evidence to the defendant pursuant to Brady v.
                    Maryland and its progeny. Not doing so in a timely manner may result in sanctions,
                    including exclusion of evidence, adverse jury instructions, dismissal of charges and
                    contempt proceedings.Signed by Magistrate Judge Moxila A. Upadhyaya on
                    8/3/2023. (ztl) (Entered: 08/04/2023)
  08/03/2023        ORAL MOTION for Speedy Trial by USA as to DONALD J. TRUMP. (ztl) (Entered:
                    08/04/2023)
  08/03/2023        Minute Entry for proceedings held before Magistrate Judge Moxila A. Upadhyaya:
                    Return on Summons/Initial Appearance/Arraignment as to Counts 1,2,3,4 held on
                    8/3/2023. Plea of Not Guilty entered as to all counts. The Court advised the
                    Government of its due process obligation under Rule 5(f).Status Conference set for
                    8/28/2023 at 10:00 AM in Courtroom 9− In Person before Judge Tanya S. Chutkan.
                    Bond Status of Defendant: Defendant Remain on Personal Recognizance; Court
                    Reporter: Jeff Hook; Defense Attorney: John Lauro and Todd Blanche; US Attorney:
                    Thomas Windom and Molly Gaston; Pretrial Officer: Takeysha Robinson. (ztl)
                    (Entered: 08/04/2023)
  08/03/2023        MINUTE ORDER as to DONALD J. TRUMP: A status conference will be held in
                    this matter on August 28, 2023 at 10:00 AM in Courtroom 9 before Judge Tanya S.
                    Chutkan. The court waives the requirement for Defendant to appear at that
                    conference. It is hereby ORDERED that Defendant shall file any motion for
                    excluding the time until the next status conference from the Speedy Trial Act clock by
                    August 8, 2023; and that the government shall file any opposition to that motion by
                    August 13, 2023. It is FURTHER ORDERED that by August 10, 2023, the
                    government shall file a brief proposing a trial date and providing an estimate of the
                    time required to set forth the prosecution's case in chief during that trial; and that by
                    August 17, 2023, Defendant shall file a response brief likewise proposing a trial date
                    and estimating, to the extent possible, the time required to set forth the defense at trial.
                    Signed by Judge Tanya S. Chutkan on 8/3/2023. (ztl) (Entered: 08/04/2023)
  08/03/2023   13   ORDER Setting Conditions of Release as to DONALD J. TRUMP (1) Personal
                    Recognizance. Signed by Magistrate Judge Moxila A. Upadhyaya on 8/3/2023.
                    (Attachment: # 1 Appearance Bond) (znjb) (Entered: 08/07/2023)
  08/04/2023    9

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                    MOTION for Leave to Appear Pro Hac Vice Filzah I. Pavalon Filing fee $ 100,
                    receipt number ADCDC−10255735. Fee Status: Fee Paid. by DONALD J. TRUMP.
                    (Lauro, John) (Entered: 08/04/2023)
  08/04/2023   10   MOTION for Protective Order by USA as to DONALD J. TRUMP. (Attachments: #
                    1 Text of Proposed Order)(Gaston, Molly) (Entered: 08/04/2023)
  08/05/2023        MINUTE ORDER as to DONALD J. TRUMP: It is hereby ORDERED that by 5:00
                    PM on August 7, 2023, Defendant shall file a response to the government's 10 Motion
                    for Protective Order, stating Defendant's position on the Motion. If Defendant
                    disagrees with any portion of the government's proposed Protective Order, ECF No.
                    10−1, his response shall include a revised version of that Protective Order with any
                    modifications in redline. Signed by Judge Tanya S. Chutkan on 08/05/2023. (lcss)
                    (Entered: 08/05/2023)
  08/05/2023        MINUTE ORDER as to DONALD J. TRUMP: Granting 9 Motion for Leave to
                    Appear Pro Hac Vice. Filzah I. Pavalon is hereby admitted pro hac vice to appear in
                    this matter on behalf of Defendant. Counsel should register for e−filing via PACER
                    and file a notice of appearance pursuant to LCrR 44.5(a). Click for instructions.
                    Signed by Judge Tanya S. Chutkan on 08/05/2023. (lcss) (Entered: 08/05/2023)
  08/05/2023   11   MOTION for Extension of Time to File Response/Reply as to 10 MOTION for
                    Protective Order , MOTION for Hearing by DONALD J. TRUMP. (Attachments: # 1
                    Text of Proposed Order)(Lauro, John) (Entered: 08/05/2023)
  08/05/2023   12   RESPONSE by USA as to DONALD J. TRUMP re 11 MOTION for Extension of
                    Time to File Response/Reply as to 10 MOTION for Protective Order MOTION for
                    Hearing (Gaston, Molly) (Entered: 08/05/2023)
  08/05/2023        MINUTE ORDER as to DONALD J. TRUMP: Defendant's 11 Motion for Extension
                    of Time is hereby DENIED. Defendant may continue to confer with the government
                    regarding its proposed protective order before or after the August 7, 2023 5:00 PM
                    deadline for his response. The court will determine whether to schedule a hearing to
                    discuss the proposed protective order after reviewing Defendant's response and, if
                    included, his revised proposed protective order with modifications in redline. Signed
                    by Judge Tanya S. Chutkan on 08/05/2023. (lcss) (Entered: 08/05/2023)
  08/06/2023        Set/Reset Deadline as to DONALD J. TRUMP: Defendant shall file a response to the
                    government's 10 Motion for Protective Order, stating Defendant's position on the
                    Motion by 5:00 PM on August 7, 2023. If Defendant disagrees with any portion of the
                    government's proposed Protective Order, (Dkt. #10−1), his response shall include a
                    revised version of that Protective Order with any modifications in redline. (jth)
                    (Entered: 08/06/2023)
  08/07/2023   14   RESPONSE by DONALD J. TRUMP re 10 MOTION for Protective Order (Lauro,
                    John) (Entered: 08/07/2023)
  08/07/2023   15   REPLY in Support by USA as to DONALD J. TRUMP re 10 MOTION for Protective
                    Order (Gaston, Molly) (Entered: 08/07/2023)
  08/07/2023        MINUTE ORDER as to DONALD J. TRUMP: Upon consideration of the
                    government's 10 Motion for Protective Order and Defendant's 14 Response, as well as
                    the government's 15 Reply, the court will schedule a hearing on the parties' respective
                    proposals. The court will waive the requirement of Defendant's appearance.
                    Accordingly, it is hereby ORDERED that no later than 3:00 PM on August 8, 2023,


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                    the parties shall meet and confer and file a joint notice of two dates and times on or
                    before August 11, 2023 when both parties are available for a hearing. Signed by Judge
                    Tanya S. Chutkan on 08/07/2023. (lcss) (Entered: 08/07/2023)
  08/08/2023        Set/Reset Deadline as to DONALD J. TRUMP: by 3:00 PM on 8/8/2023, the parties
                    shall meet and confer and file a joint notice of two dates and times on or before
                    8/11/2023 when both parties are available for a hearing. (jth) (Entered: 08/08/2023)
  08/08/2023   16   TRANSCRIPT OF RETURN ON SUMMONS/INITIAL
                    APPEARANCE/ARRAIGNMENT in case as to DONALD J. TRUMP before
                    Magistrate Judge Moxila A. Upadhyaya held on August 3, 2023. Page Numbers: 1 −
                    24. Date of Issuance: August 8, 2023. Court Reporter: Jeff Hook. Contact
                    Information: 202−354−3373 | jeff_hook@dcd.uscourts.gov. Transcripts may be
                    ordered by submitting the Transcript Order Form

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced above.
                    After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                    (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                    days to file with the court and the court reporter any request to redact personal
                    identifiers from this transcript. If no such requests are filed, the transcript will be
                    made available to the public via PACER without redaction after 90 days. The policy,
                    which includes the five personal identifiers specifically covered, is located on our
                    website at www.dcd.uscourts.gov.

                    Redaction Request due 8/29/2023. Redacted Transcript Deadline set for 9/8/2023.
                    Release of Transcript Restriction set for 11/6/2023.(Hook, Jeff) (Entered: 08/08/2023)
  08/08/2023   17   NOTICE by the Parties in Response to Court's August 7, 2023 Minute Order by USA
                    as to DONALD J. TRUMP re Order,, (Gaston, Molly) (Entered: 08/08/2023)
  08/08/2023        MINUTE ORDER as to DONALD J. TRUMP: The court hereby schedules a hearing
                    on the parties' respective protective order proposals in this matter on August 11, 2023
                    at 10:00 AM in Courtroom 9. The requirement of Defendant's appearance is waived
                    for this hearing. Signed by Judge Tanya S. Chutkan on 08/08/2023. (lcc) (Entered:
                    08/08/2023)
  08/08/2023   18   MOTION to Exclude Time Under Speedy Trial Act by DONALD J. TRUMP.
                    (Attachments: # 1 Text of Proposed Order Granting Motion)(Lauro, John) (Entered:
                    08/08/2023)
  08/09/2023        Set/Reset Hearing as to DONALD J. TRUMP: A Hearing on the Parties' Respective
                    Protective Order Proposals is set for August 11, 2023, at 10:00 AM in Courtroom 9.
                    before Judge Tanya S. Chutkan. The requirement of Defendant's appearance is waived
                    for this hearing. (jth) (Entered: 08/09/2023)
  08/09/2023   19   ENTERED IN ERROR.....NOTICE Updated Certificate of Good Standing by
                    DONALD J. TRUMP re 7 MOTION for Leave to Appear Pro Hac Vice Todd
                    Blanche Filing fee $ 100, receipt number ADCDC−10252226. Fee Status: Fee Paid.
                    (Lauro, John) Modified on 8/9/2023 (zhsj). (Entered: 08/09/2023)
  08/09/2023        NOTICE OF ERROR as to DONALD J. TRUMP regarding 19 Notice (Other). The
                    following error(s) need correction: Incorrect format (Letter)− correspondence is not

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                    permitted (LCrR 49(f)(4)). Please refile as a Notice of Filing attaching your
                    Certificate of Good Standing to a Notice of Filing Document Containing the Caption
                    of the Court. (zhsj) (Entered: 08/09/2023)
  08/09/2023   20   NOTICE of Filing by DONALD J. TRUMP re 7 MOTION for Leave to Appear Pro
                    Hac Vice Todd Blanche Filing fee $ 100, receipt number ADCDC−10252226. Fee
                    Status: Fee Paid. (Lauro, John) (Entered: 08/09/2023)
  08/09/2023        MINUTE ORDER as to DONALD J. TRUMP: Granting 7 Motion for Leave to
                    Appear Pro Hac Vice Counsel should register for e−filing via PACER and file a
                    notice of appearance pursuant to LCrR 44.5(a). Click for instructions as to
                    DONALD J. TRUMP (1). Signed by Magistrate Judge Moxila A. Upadhyaya on
                    8/9/2023. (zcll) (Entered: 08/09/2023)
  08/09/2023   21   NOTICE OF ATTORNEY APPEARANCE: Filzah Pavalon appearing for DONALD
                    J. TRUMP (Pavalon, Filzah) (Entered: 08/09/2023)
  08/10/2023   22   MOTION for Leave to Appear Pro Hac Vice Gregory M. Singer Filing fee $ 100,
                    receipt number ADCDC−10266892. Fee Status: Fee Paid. by DONALD J. TRUMP.
                    (Lauro, John) (Entered: 08/10/2023)
  08/10/2023   23   RESPONSE TO ORDER OF THE COURT by USA as to DONALD J. TRUMP re
                    Order,,,, Set Deadlines,,, Government's Response to Court's August 3, 2023 Minute
                    Order (Gaston, Molly) (Entered: 08/10/2023)
  08/10/2023   25   MOTION for Hearing Pursuant to Classified Information Procedures Act by USA as
                    to DONALD J. TRUMP. (Attachments: # 1 Text of Proposed Order)(Windom,
                    Thomas) (Entered: 08/10/2023)
  08/10/2023   26   Memorandum in Opposition by USA as to DONALD J. TRUMP re Motion for
                    Speedy Trial, 18 Motion to Exclude (Gaston, Molly) (Entered: 08/10/2023)
  08/10/2023        MINUTE ORDER as to DONALD J. TRUMP: Granting 22 Motion for Leave to
                    Appear Pro Hac Vice. Gregory M. Singer is hereby admitted pro hac vice to appear in
                    this matter on behalf of Defendant. Counsel should register for e−filing via PACER
                    and file a notice of appearance pursuant to LCrR 44.5(a). Click for instructions.
                    Signed by Judge Tanya S. Chutkan on 08/10/2023. (lcc) (Entered: 08/10/2023)
  08/10/2023   27   NOTICE OF ATTORNEY APPEARANCE: Todd Blanche appearing for DONALD
                    J. TRUMP (Blanche, Todd) (Entered: 08/10/2023)
  08/10/2023        MINUTE ORDER as to DONALD J. TRUMP: The government's 24 Sealed Motion
                    for Leave to Submit Exhibit Ex Parte and Under Seal is hereby DENIED without
                    prejudice. Signed by Judge Tanya S. Chutkan on 8/10/2023. (zjd) (Entered:
                    08/10/2023)
  08/11/2023        Minute Entry for proceedings held before Judge Tanya S. Chutkan: Hearing on the
                    Parties' Respective Protective Order Proposals as to DONALD J. TRUMP held on
                    8/11/2023. The Court shall issue a protective order consistent with the rulings made
                    on the record. Oral Order of the Court granting Government's 25 Motion for Pretrial
                    Conference Pursuant to the Classified Information Procedures Act. This hearing shall
                    proceed on August 28, 2023 at 10:00 AM in Courtroom 9 before Judge Tanya S.
                    Chutkan. Bond Status of Defendant: remains on Personal Recognizance; Court
                    Reporter: Bryan A. Wayne; Defense Attorneys: John F. Lauro, Gregory M. Singer,
                    and Todd Blanche; US Attorneys: Thomas Windom and Molly G. Gaston. (zjd)
                    (Entered: 08/11/2023)

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  08/11/2023        MINUTE ORDER as to DONALD J. TRUMP: The government's 25 Motion for
                    Hearing Pursuant to Classified Information Procedures Act (CIPA) is GRANTED.
                    Defense counsel consented to the motion during the August 11, 2023 hearing.
                    Accordingly, the court will hold a hearing pursuant to CIPA Section 2 during the
                    status conference currently scheduled for August 28, 2023. Signed by Judge Tanya S.
                    Chutkan on 8/11/2023. (zjd) (Entered: 08/11/2023)
  08/11/2023   28   PROTECTIVE ORDER GOVERNING DISCOVERY AND AUTHORIZING
                    DISCLOSURE OF GRAND JURY TESTIMONY as to DONALD J. TRUMP.
                    Consistent with the rulings made on the record during the hearing on August 11,
                    2023, the Court grants in part and denies in part the Government's 10 Motion for
                    Protective Order. Signed by Judge Tanya S. Chutkan on 8/11/2023. (zjd) (Entered:
                    08/11/2023)
  08/11/2023   29   TRANSCRIPT OF HEARING ON PROTECTIVE ORDER in case as to DONALD J.
                    TRUMP before Judge Tanya S. Chutkan held on August 11, 2023; Page Numbers:
                    1−73. Date of Issuance: 8/11/2023. Court Reporter: Bryan A. Wayne. Transcripts may
                    be ordered by submitting the Transcript Order Form

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced above.
                    After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                    (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                    days to file with the court and the court reporter any request to redact personal
                    identifiers from this transcript. If no such requests are filed, the transcript will be
                    made available to the public via PACER without redaction after 90 days. The policy,
                    which includes the five personal identifiers specifically covered, is located on our
                    website at www.dcd.uscourts.gov.

                    Redaction Request due 9/1/2023. Redacted Transcript Deadline set for 9/11/2023.
                    Release of Transcript Restriction set for 11/9/2023.(Wayne, Bryan) (Main Document
                    29 replaced on 8/23/2023) (zhsj). (Entered: 08/11/2023)
  08/17/2023   30   RESPONSE TO ORDER OF THE COURT by DONALD J. TRUMP re Order,,,, Set
                    Deadlines,,, (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5
                    Exhibit, # 6 Exhibit, # 7 Exhibit)(Lauro, John) (Entered: 08/17/2023)
  08/21/2023   31   MOTION for Leave to File Reply Brief by USA as to DONALD J. TRUMP.
                    (Attachments: # 1 Text of Proposed Order Proposed Order)(Windom, Thomas)
                    (Entered: 08/21/2023)
  08/21/2023        MINUTE ORDER as to DONALD J. TRUMP: The government's 31 Motion for
                    Leave to File Reply is hereby GRANTED. The government may file a reply in
                    support of its brief proposing a trial date by August 22, 2023. The reply brief shall be
                    limited to six pages. Signed by Judge Tanya S. Chutkan on 8/21/2023. (zjd) (Entered:
                    08/21/2023)
  08/21/2023   32   RESPONSE TO ORDER OF THE COURT by USA as to DONALD J. TRUMP re
                    Order,,,, Set Deadlines,,, Order on Motion for Leave to File,, Set/Reset Deadlines,
                    (Reply Brief) (Windom, Thomas) (Entered: 08/21/2023)
  08/21/2023   40


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                    LEAVE TO FILE DENIED−Motion of D.A. Feliciano for Leave to File Amicus
                    Curiae Brief Supporting Neither Plaintiff Nor Defendant as to DONALD J. TRUMP.
                    "This document is unavailable as the Court denied its filing. Although Courts have in
                    rare instances exercised their discretion to permit third−party submissions in criminal
                    cases, neither the Federal Rules of Criminal Procedures nor the Local Rules
                    contemplate the filing of amicus curiae briefs. At this time, the court does not find it
                    necessary to depart from the ordinary procedures course by permitting this filing".
                    Signed by Judge Tanya S. Chutkan on 8/21/2023. (zhsj) (Entered: 08/29/2023)
  08/21/2023   41   LEAVE TO FILE DENIED− Motion for Judicial Notice Affidavit of Victor Shorkin
                    as to DONALD J. TRUMP. This document is unavailable as the Court denied its
                    filing. "This document is unavailable as the Court denied its filing. Although Courts
                    have in rare instances exercised their discretion to permit third−party submissions in
                    criminal cases, neither the Federal Rules of Criminal Procedures nor the Local Rules
                    contemplate the filing of amicus curiae briefs. At this time, the court does not find it
                    necessary to depart from the ordinary procedures course by permitting this filing".
                    Signed by Judge Tanya S. Chutkan on 8/21/2023. (zhsj) (Entered: 08/29/2023)
  08/21/2023   42   LEAVE TO FILE DENIED−Motion to Intervene as to DONALD J. TRUMP This
                    document is unavailable as the Court denied its filing. "This document is unavailable
                    as the Court denied its filing. Although Courts have in rare instances exercised their
                    discretion to permit third−party submissions in criminal cases, neither the Federal
                    Rules of Criminal Procedures nor the Local Rules contemplate the filing of amicus
                    curiae briefs. At this time, the court does not find it necessary to depart from the
                    ordinary procedures course by permitting this filing". Signed by Judge Tanya S.
                    Chutkan on 8/21/2023. (zhsj) (Entered: 08/29/2023)
  08/21/2023   43   LEAVE TO FILE DENIED−Petition for a Writ of Habeas Corpus as to DONALD J.
                    TRUMP This document is unavailable as the Court denied its filing. "This document
                    is unavailable as the Court denied its filing. Although Courts have in rare instances
                    exercised their discretion to permit third−party submissions in criminal cases, neither
                    the Federal Rules of Criminal Procedures nor the Local Rules contemplate the filing
                    of amicus curiae briefs. At this time, the court does not find it necessary to depart
                    from the ordinary procedures course by permitting this filing".. Signed by Judge
                    Tanya S. Chutkan on 8/21/2023. (zhsj) (Entered: 08/29/2023)
  08/21/2023   44   LEAVE TO FILE DENIED− Galaxy Bar Association as to DONALD J. TRUMP
                    This document is unavailable as the Court denied its filing. "This document is
                    unavailable as the Court denied its filing. Although Courts have in rare instances
                    exercised their discretion to permit third−party submissions in criminal cases, neither
                    the Federal Rules of Criminal Procedures nor the Local Rules contemplate the filing
                    of amicus curiae briefs. At this time, the court does not find it necessary to depart
                    from the ordinary procedures course by permitting this filing". Signed by Judge Tanya
                    S. Chutkan on 8/21/2023. (zhsj) (Entered: 08/29/2023)
  08/21/2023   45   LEAVE TO FILE DENIED− Amicus Curiae in Support of Donald Trump as to
                    DONALD J. TRUMP This document is unavailable as the Court denied its filing.
                    "This document is unavailable as the Court denied its filing. Although Courts have in
                    rare instances exercised their discretion to permit third−party submissions in criminal
                    cases, neither the Federal Rules of Criminal Procedures nor the Local Rules
                    contemplate the filing of amicus curiae briefs. At this time, the court does not find it
                    necessary to depart from the ordinary procedures course by permitting this filing".
                    Signed by Judge Tanya S. Chutkan on 8/21/2023. (zhsj) (Entered: 08/29/2023)


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   08/21/2023   46   LEAVE TO FILE DENIED− Moton of Former Judges and Senior Legal Officials for
                     Leave to File an Amicus Curiae Brief in Support of Government Proposed Trial Date
                     and Schedule as to DONALD J. TRUMP This document is unavailable as the Court
                     denied its filing. "This document is unavailable as the Court denied its filing.
                     Although Courts have in rare instances exercised their discretion to permit third−party
                     submissions in criminal cases, neither the Federal Rules of Criminal Procedures nor
                     the Local Rules contemplate the filing of amicus curiae briefs. At this time, the court
                     does not find it necessary to depart from the ordinary procedures course by permitting
                     this filing". Signed by Judge Tanya S. Chutkan on 8/21/2023. (zhsj) (Entered:
                     08/29/2023)
   08/21/2023   81   LEAVE TO FILE DENIED− MOTION TO INTERVENE THE OUTCOME OF
                     CASE AFFECTS DAVID REGINALD HERON AFTER MOTION INTERVENE
                     GRANTED [DAVID FILE SEPARATE MOTION − RULING TO HIRE
                     ATTORNEY) as to DONALD J. TRUMP This document is unavailable as the Court
                     denied its filing. "Even if construed as a motion for leave to file an amicus curiae
                     brief, the court is not persuaded that filing thissubmission is warranted. Although
                     courts have in rare instances exercised their discretion to permit third−party
                     submissions in criminal cases, neither the Federal Rules of Criminal Procedure nor
                     the Local Criminal Rulescontemplate the filing of amicus curiae briefs. At this time,
                     the court does not find it necessary to depart from the ordinary procedural course by
                     permitting this filing". Signed by Judge Tanya S. Chutkan on 8/21/2023. (zhsj)
                     (Entered: 10/06/2023)
   08/22/2023   33   Consent MOTION to Appoint a Classified Information Security Officer by USA as to
                     DONALD J. TRUMP. (Attachments: # 1 Text of Proposed Order Proposed
                     Order)(Windom, Thomas) (Entered: 08/22/2023)
   08/22/2023        MINUTE ORDER as to DONALD J. TRUMP: The government's 33 Consent Motion
                     to Appoint a Classified Information Security Officer is hereby GRANTED. The court
                     will issue a separate sealed order designating the Officer and any alternate Officers.
                     Signed by Judge Tanya S. Chutkan on 8/22/2023. (zjd) (Entered: 08/22/2023)
   08/22/2023   35   Unopposed MOTION for Protective Order Pursuant to the Classified Information
                     Procedures Act by USA as to DONALD J. TRUMP. (Attachments: # 1 Text of
                     Proposed Order Proposed CIPA Protective Order)(Windom, Thomas) (Entered:
                     08/22/2023)
   08/22/2023   37   ORDER as to DONALD J. TRUMP granting 35 Unopposed MOTION for Protective
                     Order Pursuant to the Classified Information Procedures Act. Signed by Judge Tanya
                     S. Chutkan on 8/22/2023. (zjd) (Entered: 08/22/2023)
   08/28/2023        Minute Entry for proceedings held before Judge Tanya S. Chutkan: Status Conference
                     and Hearing Pursuant to Classified Information Procedures Act (CIPA) as to
                     DONALD J. TRUMP held on 8/28/2023. In the interests of justice (XT), and for the
                     reasons stated on the record, the Court grants Defendant's 18 Motion for Exclusion of
                     Time Under Speedy Trial Act. The time from 8/3/2023 through and including
                     8/28/2023 shall be excluded in computing the date for speedy trial in this case. Jury
                     Trial in this matter is set for March 4, 2024 at 9:30 AM in Courtroom 9 before Judge
                     Tanya S. Chutkan. Bond Status of Defendant: appearance waived, remains on
                     personal recognizance; Court Reporter: Bryan Wayne; Defense Attorneys: John F.
                     Lauro and Todd Blanche; US Attorneys: Molly G. Gaston and Thomas Windom. (zjd)
                     (Entered: 08/28/2023)



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   08/28/2023   38   TRANSCRIPT OF 8/28/23 STATUS HEARING in case as to DONALD J. TRUMP
                     before Judge Tanya S. Chutkan held on August 28, 2023; Page Numbers: 1−61. Date
                     of Issuance: 8/28/2023. Court Reporter: Bryan A. Wayne. Transcripts may be ordered
                     by submitting the Transcript Order Form

                     For the first 90 days after this filing date, the transcript may be viewed at the
                     courthouse at a public terminal or purchased from the court reporter referenced above.
                     After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                     (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                     NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                     days to file with the court and the court reporter any request to redact personal
                     identifiers from this transcript. If no such requests are filed, the transcript will be
                     made available to the public via PACER without redaction after 90 days. The policy,
                     which includes the five personal identifiers specifically covered, is located on our
                     website at www.dcd.uscourts.gov.

                     Redaction Request due 9/18/2023. Redacted Transcript Deadline set for 9/28/2023.
                     Release of Transcript Restriction set for 11/26/2023.(Wayne, Bryan) (Entered:
                     08/28/2023)
   08/28/2023   39   PRETRIAL ORDER as to DONALD J. TRUMP: Upon consideration of the parties'
                     Proposed Briefing Schedules 23 30 32 , the court hereby sets the following pretrial
                     schedule. All pre−trial motions, excluding motions in limine, due 10/9/23, oppositions
                     due 10/23/23, and replies due 11/6/23. Motions in limine and Suppression Motions
                     due 12/27/23, oppositions due 1/9/24, and replies due 1/22/24. Not later than 12/4/23,
                     the government shall provide notice of evidence it intends to offer pursuant to Fed. R.
                     Evid. 404(b). Parties shall exchange expert witnesses on 12/11/23. Parties shall
                     exchange exhibit lists by 12/18/23 and file any objections to exhibits by 1/3/24;
                     replies due 1/9/24. Proposed jury instructions and voir dire questions due 1/15/24.
                     Parties shall exchange witness lists by 2/19/24. Trial will commence on 3/4/24 at 9:30
                     a.m. in Courtroom 9 unless otherwise specified. See Order for additional details and
                     instructions. Signed by Judge Tanya S. Chutkan on 8/28/2023. (zjd) Modified on
                     10/6/2023: See 82 Opinion and Order for amendments made to this order. (zjd).
                     (Entered: 08/28/2023)
   09/05/2023        VACATED PURSUANT TO MINUTE ORDER FILED 9/5/2023.....MINUTE
                     ORDER as to DONALD J. TRUMP: The Government's 47 Motion for Leave to File
                     Unredacted Motion Under Seal, and to File Redacted Motion on Public Docket is
                     hereby GRANTED. The Clerk of the Court is directed to file under seal the
                     unredacted copy of the Government's Motion (ECF No. 47−1), attaching Exhibit 1 to
                     the Government's Motion (ECF No. 47−2). The Clerk of the Court is further directed
                     to file on the public docket the redacted copy of the Government's Motion (ECF No.
                     47−3), attaching a placeholder sheet for Exhibit 1 to the Motion (ECF No. 47−4), and
                     the two proposed orders referenced in the Motion (ECF Nos. 47−5 and 47−6). Signed
                     by Judge Tanya S. Chutkan on 9/5/2023. (zjd) Modified on 9/5/2023 (zjd). (Entered:
                     09/05/2023)
   09/05/2023   48   MOTION to Vacate by DONALD J. TRUMP. (Lauro, John) (Entered: 09/05/2023)
   09/05/2023   49   Memorandum in Opposition by USA as to DONALD J. TRUMP re 48 Motion to
                     Vacate (Gaston, Molly) (Entered: 09/05/2023)



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   09/05/2023        MINUTE ORDER as to DONALD J. TRUMP: Defendant's 48 Motion to Vacate is
                     hereby GRANTED. The court's previous Minute Order of September 5, 2023 is
                     VACATED. Defendant shall respond to the government's 47 Motion for Leave to File
                     by September 11, 2023; the government may file a Reply by September 13, 2023.
                     Any opposition or reply may be filed under seal. Going forward, all motions,
                     including motions for leave to file, must (1) indicate whether the movant has
                     conferred with opposing counsel, and (2) state the nonmovant's position on the
                     motion, if known. As it has done here, the court may require briefing on motions for
                     leave to file under seal on a timeline shorter than the default periods provided for in
                     the Local Criminal Rules. However, all such briefing may be filed under seal without
                     further order of the court. Signed by Judge Tanya S. Chutkan on 9/5/2023. (zjd)
                     (Entered: 09/05/2023)
   09/11/2023   50   MOTION for Recusal by DONALD J. TRUMP. (Attachments: # 1 Exhibit Transcript
                     Excerpt 1, # 2 Exhibit Transcript Excerpt 2)(Lauro, John) (Entered: 09/11/2023)
   09/11/2023        MINUTE ORDER as to DONALD J. TRUMP: Upon consideration of Defendant's 50
                     Motion for Recusal, it is hereby ORDERED that the government shall file any
                     opposition no later than September 14, 2023, and the defense shall file any reply
                     within three calendar days from the filing date of the government's opposition. All
                     other deadlines set by the court remain in effect. Defense counsel is reminded of the
                     requirement to confer with opposing counsel before filing any motion and to indicate
                     whether the motion is opposed. See 09/05/2023 Second Minute Order. Future motions
                     that fail to comply with that requirement may be denied without prejudice. Signed by
                     Judge Tanya S. Chutkan on 9/11/2023. (zjd) (Entered: 09/11/2023)
   09/13/2023   77   LEAVE TO FILE DENIED−Application for Relief in a Criminal Case by a Person
                     not a Party−Applicant Charles E. Hill as to DONALD J. TRUMP This document is
                     unavailable as the Court denied its filing. Signed by Judge Tanya S. Chutkan on
                     9/13/2023. (zhsj) (Entered: 10/06/2023)
   09/13/2023   78   LEAVE TO FILE DENIED−Application for Relief in a Criminal Case by a Person
                     not a Party−Applicant Charles E. Hill as to DONALD J. TRUMP This document is
                     unavailable as the Court denied its filing. "Even if construed as a motion for leave to
                     file an amicus curiae brief, the court is not persuaded thatfiling this submission is
                     warranted. Although courts have in rare instances exercised their discretionto permit
                     third−party submissions in criminal cases, neither the Federal Rules of Criminal
                     Procedurenor the Local Criminal Rules contemplate the filing of amicus curiae briefs.
                     At this time, the courtdoes not find it necessary to depart from the ordinary procedural
                     course by permitting this filing". Signed by Judge Tanya S. Chutkan on 9/13/2023.
                     (zhsj) (Entered: 10/06/2023)
   09/13/2023   79   LEAVE TO FILE DENIED− Petition for a Writ of Habeas Corpus Continued
                     Application to Arrest Protective Order Dated: 8/11/23 as to DONALD J. TRUMP
                     This document is unavailable as the Court denied its filing. "Even if construed as a
                     motion for leave to file an amicus curiae brief, the court is not persuaded thatfiling
                     this submission is warranted. Although courts have in rare instances exercised their
                     discretion to permit third−party submissions in criminal cases, neither the Federal
                     Rules of Criminal Procedure nor the Local Criminal Rules contemplate the filing of
                     amicus curiae briefs. At this time,the court does not find it necessary to depart from
                     the ordinary procedural course by permitting this filing". Signed by Judge Tanya S.
                     Chutkan on 9/13/2023. (zhsj) (Entered: 10/06/2023)
   09/13/2023   80

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                     LEAVE TO FILE DENIED−Letter Regarding Defendant's Right to Attend Trial as to
                     DONALD J. TRUMP This document is unavailable as the Court denied its filing.
                     "Even if construed as a motion for leave to file an amicus curiae brief, the court is not
                     persuaded that filing this submission is warranted. Although courtshave in rare
                     instances exercised their discretion to permit third−party submissions in criminal
                     cases, neither the Federal Rules of Criminal Procedure nor the Local Criminal Rules
                     contemplate the filing of amicus curiae briefs. At this time, the court does not find it
                     necessary to depart from the ordinaryprocedural course by permitting this filing"
                     Signed by Judge Tanya S. Chutkan on 9/13/2023. (zhsj) (Entered: 10/06/2023)
   09/13/2023   83   LEAVE TO FILE DENIED−Motion to Decriminalize as to DONALD J. TRUMP.
                     This document is unavailable as the Court denied its filing. Signed by Judge Tanya S.
                     Chutkan on 9/13/2023. (zhsj) (Entered: 10/06/2023)
   09/13/2023   84   LEAVE TO FILE DENIED− Petition for Intervention as to DONALD J. TRUMP
                     This document is unavailable as the Court denied its filing. "Even if construed as a
                     motion for leave to file an amicus curiae brief, the court is not persuaded that filing
                     this submission is warranted. Although courts have in rareinstances exercised their
                     discretion to permit third−partysubmissions in criminal cases, neither the Federal
                     Rulesof Criminal Procedure nor the Local Criminal Rulescontemplate the filing of
                     amicus curiae briefs. At thistime, the court does not find it necessary to depart
                     fromthe ordinary procedural course by permitting this filing". Signed by Judge Tanya
                     S. Chutkan on 9/13/2023. (zhsj) (Entered: 10/06/2023)
   09/14/2023   53   MOTION FOR BRIEFING SCHEDULE as to DONALD J. TRUMP. (Lauro, John)
                     Modified on 9/15/2023 (zhsj). (Entered: 09/14/2023)
   09/14/2023   54   Memorandum in Opposition by USA as to DONALD J. TRUMP re 50 Motion for
                     Recusal (Gaston, Molly) (Entered: 09/14/2023)
   09/15/2023   55   Opinion and Order as to DONALD J. TRUMP granting the government's 47 Motion
                     for Leave to File Unredacted Motion Under Seal, and to File Redacted Motion on
                     Public Docket, and granting in part and denying in part Defendant's 53 Motion for
                     Briefing Schedule. Defendant shall file any Opposition to the government's
                     substantive Motion by September 25, 2023, and the government shall file any Reply
                     by September 30, 2023. The Clerk of the Court is directed to file under seal the
                     unredacted copy of the government's substantive Motion (ECF No. 47−1), attaching
                     Exhibit 1 to the that Motion (ECF No. 47−2) under seal as well. The Clerk of the
                     Court is further directed to file on the public docket the redacted copy of the
                     government's Motion (ECF No. 47−3), attaching a placeholder sheet for Exhibit 1 to
                     the Motion (ECF No. 47−4), and attaching the two proposed orders referenced in the
                     Motion (ECF Nos. 47−5 and 47−6). Finally, the Clerk of the Court is directed to
                     unseal Defendant's motion, ECF No. 53. See Order for details. Signed by Judge Tanya
                     S. Chutkan on 9/15/2023. (zjd) (Entered: 09/15/2023)
   09/15/2023   57   MOTION to Ensure that Extrajudicial Statements Do Not Prejudice these Proceedings
                     by USA as to DONALD J. TRUMP. (Attachments: # 1 Exhibit, # 2 Text of Proposed
                     Order Exhibit 47−5, # 3 Text of Proposed Order Exhibit 47−6) (zhsj) (Attachment 2
                     replaced on 9/21/2023) (zhsj). (Entered: 09/15/2023)
                     Main Document
                     Attachment # 1 Exhibit
                     Attachment # 2 Text of Proposed Order Exhibit 47−5


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                     Attachment # 3 Text of Proposed Order Exhibit 47−6
   09/17/2023   58   REPLY in Support by DONALD J. TRUMP re 50 MOTION for Recusal (Lauro,
                     John) (Entered: 09/17/2023)
   09/25/2023   59   NOTICE of Filing by USA as to DONALD J. TRUMP (Attachments: # 1 Cover
                     Sheet)(Gaston, Molly) (Entered: 09/25/2023)
   09/25/2023   60   Memorandum in Opposition by DONALD J. TRUMP re 57 Motion for Miscellaneous
                     Relief, (Lauro, John) (Entered: 09/25/2023)
   09/27/2023   61   MEMORANDUM OPINION and ORDER as to DONALD J. TRUMP denying 50
                     Defendant's Motion for Recusal of District Judge Pursuant to 28 U.S.C. § 455(a). See
                     attached memorandum opinion and order for full details. Signed by Judge Tanya S.
                     Chutkan on 9/27/2023. (zjd) (Entered: 09/27/2023)
   09/27/2023   62   MOTION for Extension of Time to File CIPA Sect. 5 and response to ex parte notice
                     by DONALD J. TRUMP. (Blanche, Todd) (Entered: 09/27/2023)
   09/27/2023   67   LEAVE TO FILE DENIED− Petition for Writ of Error Corum Noblis and
                     Memorandum of Law in Support Thereof as to DONALD J. TRUMP. This document
                     is unavailable as the Court denied its filing. "Even if construed as a motion for leave
                     to file an amicus curiae brief, the court is not persuaded that filing this submission is
                     warranted. Although courts have in rare instances exercised their discretion to permit
                     third−party submissions in criminal cases, neither the Federal Rules of Criminal
                     Procedure nor the Local Criminal Rules contemplate the filing of amicus curiae
                     briefs. At this time, the court does not find it necessary to depart from the ordinary
                     procedural course by permitting this filing". Signed by Judge Tanya S. Chutkan on
                     9/27/2023. (zhsj) (Entered: 10/05/2023)
   09/27/2023   68   LEAVE TO FILE DENIED−Motion to Intervene as to DONALD J. TRUMP. This
                     document is unavailable as the Court denied its filing. "Even if construed as a motion
                     for leave to file an amicus curiae brief, the court is not persuaded that filing this
                     submission is warranted. Although courts have in rare instances exercised their
                     discretion to permit third−party submissions in criminal cases,neither the Federal
                     Rules of Criminal Procedure nor the Local Criminal Rules contemplate the filing of
                     amicus curiae briefs. At this time, the court does notfind it necessary to depart from
                     the ordinary procedural course by permitting this filing". Signed by Judge Tanya S.
                     Chutkan on 9/27/2023. (zhsj) (Entered: 10/05/2023)
   09/27/2023   69   LEAVE TO FILE DENIED− Application for Relief in a Criminal Case by a Person
                     not a Party−Applicant Charles E. Hill as to DONALD J. TRUMP. This document is
                     unavailable as the Court denied its filing. "Even if construed as a motion for leave to
                     file an amicus curiae brief, the court is not persuaded that filing this submission is
                     warranted. Although courts have in rare instances exercised their discretion to permit
                     third−party submissions in criminal cases, neither the Federal Rules of Criminal
                     Procedure nor the Local Criminal Rules contemplate the filing of amicus curiae
                     briefs. At this time, the court does not find it necessary to depart from the ordinary
                     procedural course by permitting this filing". Signed by Judge Tanya S. Chutkan on
                     9/27/2023. (zhsj) (Entered: 10/05/2023)
   09/27/2023   70   LEAVE TO FILE DENIED−Motion for Reconsideration of Order Date 8/21/2023 as
                     to DONALD J. TRUMP This document is unavailable as the Court denied its filing.
                     "Even if construed as a motion for leave to file an amicus curiae brief, the court is not
                     persuaded that filing this submission is warranted. Although courts have in rare


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                     instances exercised their discretion to permit third−partysubmissions in criminal
                     cases, neither the Federal Rules of Criminal Procedure nor the Local Criminal Rules
                     contemplate the filing of amicus curiae briefs. At this time, the court does not find it
                     necessary to depart from the ordinary procedural course by permitting this filing".
                     Signed by Judge Tanya S. Chutkan on 9/27/2023. (zhsj) (Entered: 10/05/2023)
   09/27/2023   71   LEAVE TO FILE DENIED− Motion to Intervene as to DONALD J. TRUMP This
                     document is unavailable as the Court denied its filing. "Even if construed as a motion
                     for leave to file an amicus curiae brief, the court is not persuaded that filing this
                     submission is warranted. Although courts have in rare instances exercised their
                     discretion to permit third−party submissions in criminal cases, neither the Federal
                     Rules of Criminal Procedure nor the Local Criminal Rulescontemplate the filing of
                     amicus curiae briefs. At this time, the court does not find it necessary to depart from
                     the ordinary procedural course by permitting this filing". Signed by Judge Tanya S.
                     Chutkan on 9/27/2023. (zhsj) (Entered: 10/05/2023)
   09/27/2023   72   LEAVE TO FILE DENIED− Motion of D.A. Feliciano for Leave to File Amicus
                     Curiae Brief Supporting Neither Plaintiff Nor Defendant as to DONALD J. TRUMP
                     This document is unavailable as the Court denied its filing. "Although courts have in
                     rare instances exercised theirdiscretion to permit third−party submissions in
                     criminalcases, neither the Federal Rules of Criminal Procedure northe Local Criminal
                     Rules contemplate the filing of amicuscuriae briefs. At this time, the court does not
                     find it necessaryto depart from the ordinary procedural course by permittingthis
                     filing". Signed by Judge Tanya S. Chutkan on 9/27/2023. (zhsj) (Entered: 10/05/2023)
   09/27/2023   73   LEAVE TO FILE DENIED− New Motion to Intervene−New Fresh Most Recent
                     Evidence Relate 6/4/2009 &11/4/2008 as to DONALD J. TRUMP This document is
                     unavailable as the Court denied its filing. "Even if construed as a motion for leave to
                     file an amicus curiae brief, the court is not persuaded thatfiling this submission is
                     warranted. Although courts have in rare instances exercised their discretion topermit
                     third−party submissions in criminal cases, neither the Federal Rules of Criminal
                     Procedure northe Local Criminal Rules contemplate the filing of amicus curiae briefs.
                     At this time, the court does notfind it necessary to depart from the ordinary procedural
                     course by permitting this filing".. Signed by Judge Tanya S. Chutkan on 9/27/2023.
                     (zhsj) (Entered: 10/05/2023)
   09/27/2023   86   LEAVE TO FILE DENIED− Petition for Writ of Error Coram Nobis as to DONALD
                     J. TRUMP This document is unavailable as the Court denied its filing. "Even if
                     construed as a motion for leave to file an amicus curiae brief, the court is not
                     persuaded that filing this submission is warranted. Although courts have in rare
                     instances exercised their discretion to permit third−party submissions in criminal
                     cases, neither the Federal Rules of Criminal Procedure nor the Local Criminal Rules
                     contemplate the filing of amicus curiae briefs. At this time, the court does not find it
                     necessary to depart from the ordinary procedural course by permitting this filing".
                     Signed by Judge Tanya S. Chutkan on 9/27/2023. (zhsj) (Entered: 10/09/2023)
   09/27/2023   87   LEAVE TO FILE DENIED− Motion to Intervene as to DONALD J. TRUMP This
                     document is unavailable as the Court denied its filing. Even if construed as a motion
                     for leave to file anamicus curiae brief, the court is not persuaded thatfiling this
                     submission is warranted. Although courtshave in rare instances exercised their
                     discretion topermit third−party submissions in criminal cases,neither the Federal
                     Rules of Criminal Procedure northe Local Criminal Rules contemplate the filing
                     ofamicus curiae briefs. At this time, the court does notfind it necessary to depart from


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                     the ordinaryprocedural course by permitting this filing." Signed by Judge Tanya S.
                     Chutkan on 9/27/2023. (zhsj) (Entered: 10/09/2023)
   09/27/2023   88   LEAVE TO FILE DENIED− Proof of Service as to DONALD J. TRUMP This
                     document is unavailable as the Court denied its filing. "Even if construed as a motion
                     for leave to file an amicuscuriae brief, the court is not persuaded that filing
                     thissubmission is warranted. Although courts have in rareinstances exercised their
                     discretion to permit third−partysubmissions in criminal cases, neither the Federal
                     Rulesof Criminal Procedure nor the Local Criminal Rulescontemplate the filing of
                     amicus curiae briefs. At thistime, the court does not find it necessary to depart
                     fromthe ordinary procedural course by permitting this filing".. Signed by Judge Tanya
                     S. Chutkan on 9/27/2023. (zhsj) (Entered: 10/09/2023)
   09/27/2023   89   LEAVE TO FILE DENIED− Motion for Reconsideration of Order Date 8/21/2023 as
                     to DONALD J. TRUMP This document is unavailable as the Court denied its filing.
                     "Even if construed as a motion for leave to file an amicuscuriae brief, the court is not
                     persuaded that filing thissubmission is warranted. Although courts have in
                     rareinstances exercised their discretion to permit third−partysubmissions in criminal
                     cases, neither the Federal Rulesof Criminal Procedure nor the Local Criminal
                     Rulescontemplate the filing of amicus curiae briefs. At thistime, the court does not
                     find it necessary to depart fromthe ordinary procedural course by permitting this
                     filing". Signed by Judge Tanya S. Chutkan on 9/27/2023. (zhsj) (Entered: 10/09/2023)
   09/27/2023   90   LEAVE TO FILE DENIED− Motion to Intervene as to DONALD J. TRUMP This
                     document is unavailable as the Court denied its filing. Even if construed as a motion
                     for leave to file anamicus curiae brief, the court is not persuaded thatfiling this
                     submission is warranted. Although courtshave in rare instances exercised their
                     discretion topermit third−party submissions in criminal cases,neither the Federal
                     Rules of Criminal Procedure northe Local Criminal Rules contemplate the filing
                     ofamicus curiae briefs. At this time, the court doesnot find it necessary to depart from
                     the ordinaryprocedural course by permitting this filing." Signed by Judge Tanya S.
                     Chutkan on 9/27/2023. (zhsj) (Entered: 10/09/2023)
   09/27/2023   91   LEAVE TO FILE DENIED− Motion of D.A. Feliciano for Leave to File Amicus
                     Curiae Brief Supporting Neither Plaintiff Nor Defendant as to DONALD J. TRUMP
                     This document is unavailable as the Court denied its filing. "Although courts have in
                     rare instances exercised theirdiscretion to permit third−party submissions in
                     criminalcases, neither the Federal Rules of Criminal Procedure northe Local Criminal
                     Rules contemplate the filing of amicuscuriae briefs. At this time, the court does not
                     find it necessaryto depart from the ordinary procedural course by permittingthis
                     filing." Signed by Judge Tanya S. Chutkan on 9/27/2023. (zhsj) (Entered: 10/09/2023)
   09/27/2023   92   LEAVE TO FILE DENIED− New Motion to Intervene−New Fresh Most Recent
                     Evidence Relate 6/4/2009 &11/4/2008 as to DONALD J. TRUMP This document is
                     unavailable as the Court denied its filing. "Even if construed as a motion for leave to
                     file an amicus curiae brief, the court is not persuaded thatfiling this submission is
                     warranted. Although courts have in rare instances exercised their discretion topermit
                     third−party submissions in criminal cases, neither the Federal Rules of Criminal
                     Procedure northe Local Criminal Rules contemplate the filing of amicus curiae briefs.
                     At this time, the court does notfind it necessary to depart from the ordinary procedural
                     course by permitting this filing". Signed by Judge Tanya S. Chutkan on 9/27/2023.
                     (zhsj) (Entered: 10/09/2023)
   09/28/2023   63

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                     MOTION for Extension of Time to File Pretrial Motions by DONALD J. TRUMP.
                     (Lauro, John) (Entered: 09/28/2023)
   09/28/2023        MINUTE ORDER as to DONALD J. TRUMP: It is hereby ORDERED that by
                     October 3, 2023, the government shall file any opposition to both Defendant's 62
                     Motion for Access to CIPA § 4 Filing and an Adjournment of the CIPA § 5 Deadline
                     and Defendant's 63 Motion for Extension of Time to File Pretrial Motions; and that
                     the defense shall file any reply within three calendar days from the filing date of the
                     government's opposition. Signed by Judge Tanya S. Chutkan on 9/28/2023. (zjd)
                     (Entered: 09/28/2023)
   09/29/2023        MINUTE ORDER as to DONALD J. TRUMP: The court hereby schedules a hearing
                     on the government's 57 Motion to Ensure that Extrajudicial Statements Do Not
                     Prejudice These Proceedings on October 16, 2023 at 10:00 AM in Courtroom 9. The
                     requirement of Defendant's appearance is waived for this hearing. Signed by Judge
                     Tanya S. Chutkan on 9/29/2023. (zjd) (Entered: 09/29/2023)
   09/29/2023   64   REPLY in Support by USA as to DONALD J. TRUMP re 57 MOTION to Ensure that
                     Extrajudicial Statements Do Not Prejudice these Proceedings (Gaston, Molly)
                     (Entered: 09/29/2023)
   10/02/2023   65   Memorandum in Opposition by USA as to DONALD J. TRUMP re 62 Motion for
                     Extension of Time to File CIPA Section 5 and Response to Ex Parte Notice (Windom,
                     Thomas) (Entered: 10/02/2023)
   10/02/2023   66   Memorandum in Opposition by USA as to DONALD J. TRUMP re 63 Motion for
                     Extension of Time to File Pretrial Motions (Windom, Thomas) (Entered: 10/02/2023)
   10/03/2023        MINUTE ORDER as to DONALD J. TRUMP: By October 10, 2023, defense counsel
                     John F. Lauro and Gregory M. Singer shall initiate and complete all security clearance
                     tasks as directed by the Litigation Security Group of the U.S. Department of Justice,
                     and thereafter file a Notice of Compliance by October 11, 2023. The Notice shall also
                     state whether the defense anticipates that any other of its members, whose assistance
                     is reasonably required, will need to obtain a security clearance. Signed by Judge
                     Tanya S. Chutkan on 10/3/2023. (zjd) (Entered: 10/03/2023)
   10/03/2023        Set/Reset Deadlines as to DONALD J. TRUMP: Notice of Compliance due by
                     10/11/2023. (mac) (Entered: 10/03/2023)
   10/04/2023        MINUTE ORDER as to DONALD J. TRUMP: It is hereby ORDERED that court will
                     hold an ex parte Classified Information Procedures Act hearing with the defense at a
                     time and place arranged with defense counsel. Signed by Judge Tanya S. Chutkan on
                     10/4/2023. (zjd) (Entered: 10/04/2023)
   10/05/2023   74   MOTION to Dismiss Case by DONALD J. TRUMP. (Lauro, John) (Entered:
                     10/05/2023)
   10/05/2023   75   REPLY in Support by DONALD J. TRUMP re 63 MOTION for Extension of Time to
                     File Pretrial Motions (Lauro, John) (Entered: 10/05/2023)
   10/05/2023   76   REPLY in Support by DONALD J. TRUMP re 62 MOTION for Extension of Time to
                     File CIPA Sect. 5 and response to ex parte notice (Lauro, John) (Entered: 10/05/2023)
   10/06/2023   82   OPINION and ORDER as to DONALD J. TRUMP granting in part and denying in
                     part Defendant's 62 Motion for Access to CIPA § 4 Filing and An Adjournment of the
                     CIPA § 5 Deadline; granting in part and denying in part Defendant's 63 Motion for


                                                                                                               17
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                     Extension of Time to File Pretrial Motions; and amending in part the court's 39
                     Pretrial Order. Defense objections to ex parte nature of government's CIPA § 4
                     submission due October 11, 2023; government response due October 18, 2023.
                     Defense CIPA § 5 notice due on October 26, 2023, with supplemental notices due
                     within 20 days of receiving access to additional classified discovery materials.
                     Dispositive motions, including motions to dismiss, due October 23, 2023; oppositions
                     due within 14 days of motion's filing; replies due within 10 days of opposition's filing.
                     Rule 17(c) motions and motions to compel due November 9, 2023; oppositions due
                     November 24, 2023; replies due December 1, 2023. See Opinion & Order for details.
                     Signed by Judge Tanya S. Chutkan on 10/6/2023. (zjd) (Entered: 10/06/2023)
   10/06/2023   94   LEAVE TO FILE DENIED− Notice of Appeal as to DONALD J. TRUMP This
                     document is unavailable as the Court denied its filing. "Even assuming a third party
                     could file a notice of appeal in a criminal case which the Federal Rules of Criminal
                     Procedure and Local Criminal Rules do not contemplate, this filing does not comply
                     with Rule 3(c) of the Circuit Rules of the U.S. Court of Appeals for the District of
                     Columbia Circuit". Signed by Judge Tanya S. Chutkan on 10/6/2023. (zhsj) (Entered:
                     10/10/2023)
   10/06/2023   96   LEAVE TO FILE DENIED− Petition for a Writ of Habeas Corpus, Continued Judge
                     Chutkan Impermissibly Held First Amendment to be Unconstitutional as to DONALD
                     J. TRUMP This document is unavailable as the Court denied its filing. Even if
                     construed as a motion for leave to file an amicus curiae brief, the court is not
                     persuaded thatfiling this submission is warranted. Although courts have in rare
                     instances exercised their discretionto permit third−party submissions in criminal
                     cases, neither the Federal Rules of CriminalProcedure nor the Local Criminal Rules
                     contemplate the filing of amicus curiae briefs. At this time,the court does not find it
                     necessary to depart from the ordinary procedural course by permittingthis filing".
                     Signed by Judge Tanya S. Chutkan on 10/6/2023. (zhsj) (Entered: 10/10/2023)
   10/09/2023   85   MOTION for Leave to Appear Pro Hac Vice Emil Bove Filing fee $ 100, receipt
                     number ADCDC−10406576. Fee Status: Fee Paid. by DONALD J. TRUMP. (Lauro,
                     John) (Entered: 10/09/2023)
   10/10/2023   93   LEAVE TO FILE DENIED− Notice of Appeal as to DONALD J. TRUMP This
                     document is unavailable as the Court denied its filing. "Even assuming a third
                     partycould file a notice of appeal in acriminal cases, which theFederal Rules of
                     CriminalProcedure and and LocalCriminal Rules do notcontemplate, this filing does
                     notcomply with Rule 3(c) of theCircuit Rules of the U.S. Courtof Appeals for the
                     District ofColumbia Circuit".. Signed by Judge Tanya S. Chutkan on 10/6/2023. (zhsj)
                     (Entered: 10/10/2023)
   10/10/2023   95   LEAVE TO FILE DENIED− Notice of Appeal as to DONALD J. TRUMP This
                     document is unavailable as the Court denied its filing. "Even assuming a third
                     partycould file a notice of appeal in acriminal cases, which theFederal Rules of
                     CriminalProcedure and and LocalCriminal Rules do notcontemplate, this filing does
                     notcomply with Rule 3(c) of theCircuit Rules of the U.S. Courtof Appeals for the
                     District ofColumbia Circuit".. Signed by Judge Tanya S. Chutkan on 10/6/2023. (zhsj)
                     (Entered: 10/10/2023)
   10/10/2023   97   MOTION for Order for Fair and Protective Jury Procedures by USA as to DONALD
                     J. TRUMP. (Gaston, Molly) (Entered: 10/10/2023)
   10/10/2023   98


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                      MOTION for Formal Pretrial Notice of the Defendant's Intent to Rely on
                      Advice−of−Counsel Defense by USA as to DONALD J. TRUMP. (Attachments: # 1
                      Text of Proposed Order)(Windom, Thomas) (Entered: 10/10/2023)
   10/10/2023         MINUTE ORDER as to DONALD J. TRUMP: It is hereby ORDERED that by
                      October 20, 2023, the defense shall file any opposition to the government's 97 Motion
                      for Fair and Protective Jury Procedures and 98 Motion for Formal Pretrial Notice of
                      the Defendant's Intent to Rely on Advice−of−Counsel Defense; and that the
                      government shall file any reply in support of those motions by October 25, 2023.
                      Signed by Judge Tanya S. Chutkan on 10/10/2023. (zjd) (Entered: 10/10/2023)
   10/11/2023         MINUTE ORDER as to DONALD J. TRUMP: Granting 85 Motion for Leave to
                      Appear Pro Hac Vice. Emil Bove is hereby admitted pro hac vice to appear in this
                      matter on behalf of Defendant. Counsel should register for e−filing via PACER
                      and file a notice of appearance pursuant to LCrR 44.5(a). Click for instructions.
                      Signed by Judge Tanya S. Chutkan on 10/11/2023. (zjd) (Entered: 10/11/2023)
   10/11/2023    99   MOTION for Discovery (PRE−TRIAL RULE 17(c) SUBPOENAS) by DONALD J.
                      TRUMP. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit,
                      # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit)(Lauro,
                      John) (Entered: 10/11/2023)
   10/11/2023         MINUTE ORDER as to DONALD J. TRUMP: It is hereby ORDERED that by
                      October 25, 2023, the government shall file any opposition to Defendant's 99 Motion
                      for Pre−Trial Rule 17(c) Subpoenas; and the defense shall file any reply in support of
                      its motion by November 1, 2023. Signed by Judge Tanya S. Chutkan on 10/11/2023.
                      (zjd) (Entered: 10/11/2023)
   10/11/2023   100   NOTICE of Compliance by DONALD J. TRUMP re Order,,, Set Deadlines,, (Lauro,
                      John) (Entered: 10/11/2023)
   10/11/2023   101   MOTION to Access CIPA Section 4 Filing by DONALD J. TRUMP. (Blanche, Todd)
                      (Entered: 10/11/2023)
   10/13/2023   102   NOTICE OF ATTORNEY APPEARANCE: Emil Bove appearing for DONALD J.
                      TRUMP (Bove, Emil) (Entered: 10/13/2023)
   10/16/2023         Minute Entry for proceedings held before Judge Tanya S. Chutkan: Motion Hearing
                      as to DONALD J. TRUMP held on 10/16/2023 re 57 Motion to Ensure that
                      Extrajudicial Statements Do Not Prejudice These Proceedings. Order forthcoming.
                      Bond Status of Defendant: appearance waived, remains on personal recognizance;
                      Court Reporter: Bryan Wayne; Defense Attorneys: John F. Lauro and Todd Blanche;
                      US Attorneys: Molly G. Gaston and Thomas Windom. (zjd) (Entered: 10/16/2023)
   10/16/2023   103   TRANSCRIPT OF MOTION HEARING in case as to DONALD J. TRUMP before
                      Judge Tanya S. Chutkan held on October 16, 2023; Page Numbers: 1−86. Date of
                      Issuance: 10/16/2023. Court Reporter: Bryan A. Wayne. Transcripts may be ordered
                      by submitting the Transcript Order Form

                      For the first 90 days after this filing date, the transcript may be viewed at the
                      courthouse at a public terminal or purchased from the court reporter referenced above.
                      After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                      (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.




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                      NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                      days to file with the court and the court reporter any request to redact personal
                      identifiers from this transcript. If no such requests are filed, the transcript will be
                      made available to the public via PACER without redaction after 90 days. The policy,
                      which includes the five personal identifiers specifically covered, is located on our
                      website at www.dcd.uscourts.gov.

                      Redaction Request due 11/6/2023. Redacted Transcript Deadline set for 11/16/2023.
                      Release of Transcript Restriction set for 1/14/2024.(Wayne, Bryan) (Entered:
                      10/16/2023)
   10/16/2023   104   NOTICE OF ATTORNEY APPEARANCE James Pearce appearing for USA.
                      (Pearce, James) (Main Document 104 replaced on 10/17/2023) (zhsj). (Entered:
                      10/16/2023)
   10/17/2023   105   OPINION and ORDER as to DONALD J. TRUMP: Granting in part and denying in
                      part the government's 57 Motion to Ensure that Extrajudicial Statements Do Not
                      Prejudice These Proceedings; and denying as moot the government's sealed 56
                      Motion to Ensure that Extrajudicial Statements Do Not Prejudice These Proceedings.
                      Signed by Judge Tanya S. Chutkan on 10/17/2023. (zjd) (Entered: 10/17/2023)
   10/17/2023   106   NOTICE OF APPEAL (Interlocutory) by DONALD J. TRUMP re 105 Memorandum
                      Opinion,, Order,. Filing fee $ 505, receipt number ADCDC−10425241. Fee Status:
                      Fee Paid. Parties have been notified. (Lauro, John) (Entered: 10/17/2023)




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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

   UNITED STATES OF AMERICA

      v.                                              Case No. 1:23-cr-00257-TSC

   DONALD J. TRUMP,

                  Defendant.


                                   NOTICE OF APPEAL
       Defendant President Donald J. Trump hereby provides notice that he appeals to the U.S.

Court of Appeals for the District of Columbia Circuit from the Opinion and Order of the District

Court dated October 17, 2023, ECF No. 105.


 Dated: October 17, 2023                           Respectfully submitted,


 Todd Blanche, Esq. (PHV)                          /s/John F. Lauro
 toddblanche@blanchelaw.com                        John F. Lauro, Esq.
 Emil Bove, Esq. (PHV)                             D.C. Bar No. 392830
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                                                   400 N. Tampa St., 15th Floor
                                                   Tampa, FL 33602
                                                   (813) 222-8990
                                                   Counsel for President Trump




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

         v.
                                                                Criminal Action No. 23-257 (TSC)
 DONALD J. TRUMP,

                 Defendant.


                                     OPINION AND ORDER

       For the reasons set forth below and during the hearing in this case on October 16, 2023,

the government’s Motion to Ensure that Extrajudicial Statements Do Not Prejudice These

Proceedings, ECF No. 57, is GRANTED in part and DENIED in part.

       Under binding Supreme Court precedent, this court “must take such steps by rule and

regulation that will protect [its] processes from prejudicial outside interferences.” Sheppard v.

Maxwell, 384 U.S. 333, 363 (1966). The First Amendment does not override that obligation.

“Freedom of discussion should be given the widest range compatible with the essential

requirement of the fair and orderly administration of justice. But it must not be allowed to divert

the trial from the very purpose of a court system to adjudicate controversies, both criminal and

civil, in the calmness and solemnity of the courtroom according to legal procedures.” Id. at 350–

51 (cleaned up); Seattle Times Co. v. Rhinehart, 467 U.S. 20, 32 n.18 (1984) (“Although

litigants do not surrender their First Amendment rights at the courthouse door, those rights may

be subordinated to other interests that arise in this setting. For instance, on several occasions this

Court has approved restriction on the communications of trial participants where necessary to

ensure a fair trial for a criminal defendant.”) (quotation omitted). Here, alternative measures



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such as careful voir dire, jury sequestration, and cautionary jury instructions are sufficient to

remedy only some of the potential prejudices that the government’s motion seeks to address.

       In order to safeguard the integrity of these proceedings, it is necessary to impose certain

restrictions on public statements by interested parties. Undisputed testimony cited by the

government demonstrates that when Defendant has publicly attacked individuals, including on

matters related to this case, those individuals are consequently threatened and harassed. See ECF

No. 57 at 3–5. Since his indictment, and even after the government filed the instant motion,

Defendant has continued to make similar statements attacking individuals involved in the judicial

process, including potential witnesses, prosecutors, and court staff. See id. at 6–12. Defendant

has made those statements to national audiences using language communicating not merely that

he believes the process to be illegitimate, but also that particular individuals involved in it are

liars, or “thugs,” or deserve death. Id.; ECF No. 64 at 9–10. The court finds that such statements

pose a significant and immediate risk that (1) witnesses will be intimidated or otherwise unduly

influenced by the prospect of being themselves targeted for harassment or threats; and (2)

attorneys, public servants, and other court staff will themselves become targets for threats and

harassment. And that risk is largely irreversible in the age of the Internet; once an individual is

publicly targeted, even revoking the offending statement may not abate the subsequent threats,

harassment, or other intimidating effects during the pretrial as well as trial stages of this case.

       The defense’s position that no limits may be placed on Defendant’s speech because he is

engaged in a political campaign is untenable, and the cases it cites do not so hold. The Circuit

Courts in both United States v. Brown and United States v. Ford recognized that First

Amendment rights must yield to the imperative of a fair trial. 218 F.3d 415, 424 (2000); 830

F.2d 596, 599 (1987). Unlike the district courts in those cases, however, this court has found that



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even amidst his political campaign, Defendant’s statements pose sufficiently grave threats to the

integrity of these proceedings that cannot be addressed by alternative means, and it has tailored

its order to meet the force of those threats. Brown, 218 F.3d at 428–30; Ford, 830 F.2d at 600.

Thus, limited restrictions on extrajudicial statements are justified here. The bottom line is that

equal justice under law requires the equal treatment of criminal defendants; Defendant’s

presidential candidacy cannot excuse statements that would otherwise intolerably jeopardize

these proceedings.

       Accordingly, and pursuant to Local Criminal Rule 57.7(c), it is hereby ORDERED that:

       All interested parties in this matter, including the parties and their counsel, are
       prohibited from making any public statements, or directing others to make any
       public statements, that target (1) the Special Counsel prosecuting this case or his
       staff; (2) defense counsel or their staff; (3) any of this court’s staff or other
       supporting personnel; or (4) any reasonably foreseeable witness or the substance of
       their testimony.

This Order shall not be construed to prohibit Defendant from making statements criticizing the

government generally, including the current administration or the Department of Justice;

statements asserting that Defendant is innocent of the charges against him, or that his prosecution

is politically motivated; or statements criticizing the campaign platforms or policies of

Defendant’s current political rivals, such as former Vice President Pence.

       In addition, the sealed version of the government’s Motion to Ensure that Extrajudicial

Statements Do Not Prejudice These Proceedings, ECF No. 56, is DENIED as moot.



Date: October 17, 2023

                                                  Tanya S. Chutkan
                                                  TANYA S. CHUTKAN
                                                  United States District Judge



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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         *
                                                  *
         v.                                       *     CRIMINAL NO. 23-cr-257 (TSC)
                                                  *
 DONALD J. TRUMP,                                 *
                                                  *
                Defendant.                        *
                                                  *

    GOVERNMENT’S OPPOSED MOTION TO ENSURE THAT EXTRAJUDICIAL
         STATEMENTS DO NOT PREJUDICE THESE PROCEEDINGS

       Since the grand jury returned an indictment in this case, the defendant has repeatedly and

widely disseminated public statements attacking the citizens of the District of Columbia, the Court,

prosecutors, and prospective witnesses. Through his statements, the defendant threatens to

undermine the integrity of these proceedings and prejudice the jury pool, in contravention of the

“undeviating rule” that in our justice system a jury’s verdict is to “be induced only by evidence

and argument in open court, and not by any outside influence.” Sheppard v. Maxwell, 384 U.S.

333, 351 (1966) (quotations omitted). In accordance with the Court’s duty to “protect [its]

processes from prejudicial outside interferences,” id. at 363, the Government requests that the

Court take the following immediate measures to ensure the due administration of justice and a fair

and impartial jury: (1) enter a narrowly tailored order pursuant to Local Criminal Rule 57.7(c) that

restricts certain prejudicial extrajudicial statements; and (2) enter an order through which the Court

can ensure that if either party conducts a jury study involving contact with the citizens of this

District, the jury study is conducted in a way that will not prejudice the venire. The Government

obtained the defendant’s position from counsel for the defendant, and he opposes this motion.




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I.     Background

       As set forth in the indictment, after election day in 2020, the defendant launched a

disinformation campaign in which he publicly and widely broadcast knowingly false claims that

there had been outcome-determinative fraud in the presidential election, and that he had actually

won. ECF No. 1 at ¶¶ 2, 4. In service of his criminal conspiracies, through false public statements,

the defendant sought to erode public faith in the administration of the election and intimidate

individuals who refuted his lies. ECF No. 1 at ¶¶ 2, 28, 31-32, 42, 44, 74, 97, 100, 104, 111. The

defendant is now attempting to do the same thing in this criminal case—to undermine confidence

in the criminal justice system and prejudice the jury pool through disparaging and inflammatory

attacks on the citizens of this District, the Court, prosecutors, and prospective witnesses. The

defendant’s conduct presents a “substantial likelihood of material prejudice” to these proceedings,

and the Court can and should take steps to restrict such harmful extrajudicial statements. Gentile

v. State Bar of Nevada, 501 U.S. 1030, 1075 (1991).

       A. The Defendant Has a History of Inflammatory and Misleading Statements That
          He Knew or Should Have Known Would Cause Others to Harass and Harm
          Perceived Critics or Adversaries

       The defendant has an established practice of issuing inflammatory public statements

targeted at individuals or institutions that present an obstacle or challenge to him. In the period

between the presidential election on November 3, 2020, and the congressional certification

proceeding on January 6, 2021, the defendant trained his focus on the election system, including

election officials and other individuals carrying out civic duties to implement fair elections in

various states. As a result, the defendant engendered widespread mistrust in the administration of

the election, and the individuals whom he targeted were subject to threats and harassment.




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       Examples of this pattern, from the indictment and the Government’s investigation, include

the following:

   •                                                   whom the defendant specifically targeted
       on the social media platform Twitter because           had publicly stated that there was
       no evidence of election fraud.              See ECF No. 1, Indictment, ¶ 42;
       https://twitter.com/realDonaldTrump/status/1326525851752656898.              After     the
       defendant’s tweet,           observed an increase in the volume and severity of threats
       against him and his family. See House Select Committee to Investigate the January 6th
       Attack on the United States Capitol (“House Select Committee”), 6/13/22 Hr’g, at 1:47:14–
       1:47:43 (“After the President tweeted at me by name, calling me out the way that he did,
       the threats became much more specific, much more graphic, and included not just me by
       name but included members of my family by name, their ages, our address, pictures of our
       home. Just every bit of detail that you could imagine. That was what changed with that
       tweet.”). 1

   •                                                                                  during the
       2020 election, whose home address was listed on the internet and whose family was
       threatened with violence after the defendant and surrogates publicly derogated
       for certifying the election. See Exhibit 1 at 3-6.

   •                                                                           during the 2020
       election, who received threatening communications after            certified the election
       and the defendant issued public posts about them. See Exhibit 1 at 26-27 (


                       ).

   •                                                             who required additional police
       protection after the defendant targeted               on Twitter for
       rejecting one of the defendant’s election challenges. See Exhibit 1 at 41-44.

       The defendant knows that when he publicly attacks individuals and institutions, he inspires

others to perpetrate threats and harassment against his targets. On December 1, 2020, as the

defendant was fueling an intense national atmosphere of mistrust and anger regarding the election,

a Georgia election official held a widely televised press conference in which he pleaded with the


       1
        See https://january6th-benniethompson.house.gov/legislation/hearings/06132022-select-
committee-hearing.


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defendant to stop, stating that if he did not, “Someone’s going to get hurt, someone’s going to get

shot, someone’s going to get killed.” 2 The defendant did not stop. Instead, he continued—even

to the present—to attack individuals whom he knows already suffered threats and harassment as a

result of his words. For instance:

   •   On November 17, 2020, the defendant fired                  , his appointed director of the
       Department of Homeland Security’s Cybersecurity and Infrastructure Security Agency
       after       made statements assuring the public of the integrity of the election. See ECF
       No. 1 ¶ 11(d). Later that month, after      appeared on a news program and again stated
       publicly that the presidential election had been secure, the defendant attacked him on
       Twitter, and on November 30, an agent of the defendant publicly stated that         “should
       be drawn and quartered. Taken out at dawn and shot.” 3 This statement was so dangerous
       that the above-described Georgia election official mentioned it in his press conference
       when warning the defendant and others that such rhetoric would lead to violence. 4
       and his family received death threats and had to evacuate their home, and through a
       December 8, 2020 lawsuit put the defendant on explicit notice of the threats and harassment
       the defendant had caused. 5 The defendant continued to publicly attack          anyway.

   •   In 2020, the defendant and co-conspirators 6 spread false accusations of misconduct against
                       , a Georgia election worker, and                                      . As
       a result,                      were inundated by threats. See ECF No. 1 ¶ 26.
       subsequently described the pernicious threats and intimidation she endured as a result of
       these false allegations in an interview with the House Select Committee, which publicly
       released a transcript of the interview on December 29, 2022. See Select Committee Press



       2
          See NBC News, Georgia Secretary of State Press Conference (Dec. 1, 2020),
https://www.youtube.com/watch?v=nH9FnY0qvNI.
       3
          See CBC News, 60 Minutes (Nov. 29, 2020), https://www.cbsnews.com/news/election-
results-security-chris-krebs-60-minutes-2020-11-29/; Newsmax, Howie Carr Radio Show (Nov.
30, 2020).
       4
          See NBC News, Georgia Secretary of State Press Conference (Dec. 1, 2020),
https://www.youtube.com/watch?v=nH9FnY0qvNI.
       5
         See Case No. 484243V (Montgomery County, Maryland Circuit Court), Complaint (Dec.
8, 2020).
       6
        A court in this District recently entered a default judgment against one of the defendant’s
co-conspirators in a lawsuit filed against him by                         for his defamatory false
claims. See 21-cv-3354 (BAH), ECF No. 93, Order (Aug. 30, 2023).


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       Release, Release of Select Committee Materials (Dec. 29, 2022); 7 Select Committee
       Transcript at 8 (“Do you know how it feels to have the President of the United States to
       target you? The President of the United States is supposed to represent every American,
       not to target one. But he targeted me . . . a small-business owner, a mother, a proud
       American citizen who stood up to help Fulton County run an election in the middle of the
       pandemic. . . . And, lo and behold, when someone as powerful as the President of the United
       States eggs on a mob, that mob will come. They came for us with their cruelty, their threats,
       their racism, and their hats. They haven’t stopped even today.”). 8 Within ten days of the
       public release of             interview transcript, the defendant—despite the known threats
       the election worker had received, and the established falsity of the claims of misconduct—
       publicly attacked            again on Truth Social through a series of repeated false claims. 9

   •   Likewise, the defendant recently renewed attacks on former Georgia Lieutenant Governor
                       , whose harassment the defendant inspired in the aftermath of the election.
       In December 2020, after Georgia’s Governor and Lieutenant Governor rejected the
       defendant’s calls to appoint the defendant’s illegitimate electors in Georgia, the defendant
       issued a post labeling          a “Rino Never Trumper” who was “dumb or corrupt” and
       urged, “We need every great Georgian to call him out!”                                    See
       https://twitter.com/realDonaldTrump/status/ 1336148836495069185. Thereafter,
       reported, he received death threats. 10 Nonetheless, last month, on August 14, 2023, when
       it was publicly reported that          had been called to testify before a state grand jury in
       Fulton County, Georgia, the defendant posted on Truth Social that “[h]e shouldn’t” testify.
       See https://truthsocial.com/@realDonaldTrump/posts/110888087440060991.

The defendant continues these attacks on individuals precisely because he knows that in doing so,

he is able to roil the public and marshal and prompt his supporters. As he acknowledged in a

televised town hall on May 10, 2023, his supporters listen to him “like no one else.” 11


       7
         See https://january6th-benniethompson.house.gov/news/press-releases/release-select-
committee-materials-4.
       8
            https://january6th-benniethompson.house.gov/sites/democrats.january6th.house.gov/
files/20220531_                   .pdf.
       9
                         https://truthsocial.com/@realDonaldTrump/posts/109623460421938942;
https://truthsocial.com/@realDonaldTrump/posts/109623536630848334;
https://truthsocial.com/@realDonaldTrump/posts/109623623674619588.
       10
            MSNBC, Morning Joe, https://www.msnbc.com/morning-joe/watch/georgia-s-
lieutenant-governor-won-t-seek-reelection-turns-focus-to-gop-2-0-112276037799.
       11
         See CNN, Transcript of CNN’s Town Hall with Former President Donald Trump (May
11, 2023), https://www.cnn.com/2023/05/11/politics/transcript-cnn-town-hall-trump/index.html.


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       B. Since the Indictment, the Defendant Has Deployed Misleading and Inflammatory
          Statements About this Case to Undermine Confidence in the Justice System and
          Prejudice the Jury Pool

       The defendant made clear his intent to issue public attacks related to this case when, the

day after his arraignment, he posted a threatening message on Truth Social:




And he has made good on his threat. Since the indictment in this case, the defendant has spread

disparaging and inflammatory public posts on Truth Social on a near-daily basis regarding the

citizens of the District of Columbia, the Court, prosecutors, and prospective witnesses. Like his

previous public disinformation campaign regarding the 2020 presidential election, the defendant’s

recent extrajudicial statements are intended to undermine public confidence in an institution—the

judicial system—and to undermine confidence in and intimidate individuals—the Court, the jury

pool, witnesses, and prosecutors. Below are select examples of the defendant’s disparaging and

inflammatory Truth Social posts.

                 i. Posts Attacking, Undermining, and Attempting to Intimidate the Court and the
                    Jury Pool

       The defendant has posted repeated, inflammatory attacks on the judicial system, the Court,

and the citizens of the District of Columbia who comprise the jury pool in this case. The defendant

has made baseless claims—cited or inserted below—that the justice system is “rigged” 12 against

him; that the Court is “a fraud dressed up as a judge in Washington, D.C. who is a radical Obama



       12
            See https://truthsocial.com/@realDonaldTrump/posts/110857162338915853.


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hack” or is a “biased, Trump-hating judge”; 13 and that he cannot get a fair trial from the residents

of this “filthy and crime ridden” District that “is over 95% anti-Trump.” 14




       13
            See re-post of https://truthsocial.com/@marklevinshow/posts/110973488250507373;
https://truthsocial.com/@realDonaldTrump/posts/110980188106641474.
       14
            See https://truthsocial.com/@realDonaldTrump/posts/110823476578708544.


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                ii. Posts Attacking, Undermining, and Attempting to Intimidate Prosecutors

       Similarly, the defendant has posted false and disparaging claims regarding the Department

of Justice and prosecutors in the Special Counsel’s Office in an attempt to undermine confidence

in the justice system and prejudice the jury pool against the Government in advance of trial. In a

video posted to Truth Social, the defendant called the Special Counsel’s Office a “team of thugs.”15




       15
            See https://truthsocial.com/@realDonaldTrump/posts/110980188106641474.


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       Recently, the defendant has spread knowingly false accusations of misconduct against a

prosecutor in the Special Counsel’s Office working on the case in which the defendant was indicted

in the Southern District of Florida in June 2023, see United States v. Donald J. Trump, et al, Case

No. 9:23-cr-80101-AMC, ECF No. 30 at 1 (S.D. Fla. June 21, 2023), and connected those false

accusations to this case in the District of Columbia by calling the Court a “biased, Trump Hating

Judge,” as shown below. In his posts on this topic, the defendant repeatedly makes the knowingly

false claim that Special Counsel’s Office prosecutors went to the White House in advance of the

defendant’s June 2023 indictment for improper reasons.




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In fact, as the defendant well knows from the formal FBI FD-302 interview report and agent notes

that he received in discovery on June 21, 2023, in the Southern District of Florida case, on March

31, 2023, the Special Counsel’s Office prosecutor conducted a routine investigative interview of a

career military official at that official’s duty station—the White House. The defendant’s objective

in spreading a knowing lie to the contrary—including by re-posting others’ Truth Social posts

naming the prosecutor and repeating the lie 16—is an attempt to prejudice the public and the venire

in advance of trial.

        With that same goal, the defendant has posted misleading claims on Truth Social to

insinuate misconduct by the Special Counsel’s Office in pursuing ordinary court-approved process

or seeking the indictment in this case. Regarding a search warrant and non-disclosure order that

the Government received from the court consistent with the law, for instance, the defendant falsely

claimed that the Special Counsel’s Office broke into his former Twitter account 17 in a “major ‘hit’

on my civil rights” and queried whether the Special Counsel directed the Select Committee to


        16
            On August 28, the defendant re-posted a Truth Social post doing exactly this. See
https://truthsocial.com/@marklevinshow/110969978988667723.
        17
             See https://truthsocial.com/@realDonaldTrump/posts/110886100439412597.


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“DESTROY & DELETE all evidence.” 18 And on August 2, the defendant posted a quote alleging,

without any basis, that the indictment that a federal grand jury in this case returned had been

directed by the sitting president: “‘Joe Biden directed his Attorney General to prosecute his rival.

This is not an independent Justice Department, this is not an independent special counsel. This is

being directed by the Commander-in-Chief.” 19 Through such posts, the defendant is attempting

to submit his false and inflammatory claims to the public and jury pool outside of court, because

he knows that any such claims made before the Court in the form of motions to suppress or of

vindictive prosecution will fail because they must be supported by evidence—of which there is

none.

                iii. Posts Bolstering or Attacking and Attempting to Intimidate Witnesses

        The defendant has also posted publicly about individuals whom he has reason to believe

will be witnesses in this trial. For instance, on August 30, the defendant posted a video attacking

the former Attorney General of the United States, a potential witness in this case, on the very

subject of his testimony. 20 Steadily since indictment, the defendant has publicly bolstered certain

prospective witnesses in this case, while attacking others, in an effort to influence the public’s and

the jury pool’s impressions of potential witnesses outside of the courtroom. Examples of such

posts are below.




        18
             See https://truthsocial.com/@realDonaldTrump/posts/110860965885418709.
        19
             See https://truthsocial.com/@realDonaldTrump/posts/110823008009285486.
        20
             See https://truthsocial.com/@realDonaldTrump/posts/110980538393058556.


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       C. The Defendant’s Public Posts Regarding this Case are Reasonably Likely to
          Prejudice the Jury Pool

       The defendant’s relentless public posts marshaling anger and mistrust in the justice system,

the Court, and prosecutors have already influenced the public. For instance, on August 5, 2023,

an individual was arrested because she called the Court’s chambers and made racist death threats

to the Court that were tied to the Court’s role in presiding over the defendant’s case. See United

States v. Shry, Case No. 4:23-mj-1602, ECF No. 1 at 3 (Criminal Complaint) (S.D. Tex. August

11, 2023). In addition, the Special Counsel has been subject to multiple threats, and the specific

Special Counsel’s Office prosecutor that the defendant has targeted through recent, inflammatory

public posts has been subject to intimidating communications. Given the defendant’s history

described above and the nature of the threats to the Court and to the Government, it is clear that


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the threats are prompted by the defendant’s repeated and relentless posts. To the extent that the

defendant’s public posts reach the general public, they also reach the jury pool for this trial.

       In addition, if unfettered, the way that the defendant is known to use public statements to

intimidate individuals could affect potential jurors. A recent incident in this District illustrates the

potential issue. Last week, in a trial against a self-professed supporter of the defendant who

claimed to have been at the United States Capitol on January 6 because of the defendant’s tweets,

the jury sent the court a note expressing concern that the trial defendant (Fellows) might have

information about the identity of jurors. See United States v. Brandon Fellows, Case No. 21-cr-

83 (TNM) at ECF No. 141, Note (“We wanted to confirm that the defendent [sic] does not have

any personal information on individual jurors, since he was defending himself. Includes name,

address, etc.”). This demonstrates the need to protect potential jurors from fear of threats and

harassment that stem from the defendant’s disparaging and inflammatory public statements.

II.    The Court Should Ensure That Public Statements by the Defendant and His Agents
       Do Not Prejudice These Criminal Proceedings

       The defendant’s repeated, inflammatory public statements regarding the District of

Columbia, the Court, prosecutors, and potential witnesses are substantially likely to materially

prejudice the jury pool, create fear among potential jurors, and result in threats or harassment to

individuals he singles out. Put simply, those involved in the criminal justice process who read and

hear the defendant’s disparaging and inflammatory messages (from court personnel, to

prosecutors, to witnesses, to potential jurors) may reasonably fear that they could be the next

targets of the defendant’s attacks. To protect the due administration of justice in these proceedings

and ensure the impartiality of the venire, the Government proposes two narrowly tailored orders

that impose modest, permissible restrictions on prejudicial extrajudicial conduct by the parties and

counsel.



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       A. The Court Should Issue an Order Pursuant to Local Criminal Rule 57.7(c) That
          Prohibits Certain Narrowly Defined Statements

       The Court has recognized its “obligation to prevent what the Supreme Court called in

Sheppard v. Maxwell ‘a carnival atmosphere of unchecked publicity and trial by media rather than

our constitutionally established system of trial by impartial jury.’” 8/11/23 Hr’g Tr. at 71. To

fulfill that obligation, the Court may “take such steps by rule and regulation that will protect their

processes from prejudicial outside interferences,” including by “proscrib[ing] extrajudicial

statements by any lawyer, party, witness, or court official which divulge[s] prejudicial matters.”

Sheppard v. Maxwell, 384 U.S. 333, 361 (1966). Consistent with these principles, the Court should

enter an order pursuant to this District’s Local Criminal Rules imposing limited restrictions on

certain extrajudicial public statements by the parties and attorneys in this case.

       Local Criminal Rule 57.7 permits the Court, “[i]n a widely publicized or sensational

criminal case,” upon a motion or sua sponte, to “issue a special order governing such matters as

extrajudicial statements by parties, witnesses and attorneys likely to interfere with the rights of the

accused to a fair trial by an impartial jury.” LCrR 57.7(c); see also LCrR 57.7(b)(1), (3)

(prohibiting pre-trial, public statements by lawyers that might prejudice the due administration of

justice). Courts in this District have exercised their authority under Local Criminal Rule 57.7(c)

to issue orders restricting statements of counsel and parties in appropriate cases. See United States

v. Stone, No. 19-cr-18, ECF No. 36 at 3 (D.D.C. Feb. 15, 2019) (ordering, inter alia, attorneys to

“refrain from making statements to the media or in public settings that pose a substantial likelihood

of material prejudice to this case”); United States v. Butina, No. 18-cr-218, ECF No. 31 at 2

(D.D.C. Sept. 12, 2018) (ordering “all interested participants, in the matter, including the parties,

any potential witnesses, and counsel for the parties and witnesses . . . to refrain from making

statements to the media or in public settings that pose a substantial likelihood of material prejudice



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to this case”). Other jurisdictions are in accord. See United States v. Brown, 218 F.3d 415, 428

(5th Cir. 2000) (upholding district court order restricting extrajudicial statements, and reasoning

that the rationale of Gentile applies equally to attorneys and parties).

       The Government seeks a narrow, well-defined restriction that is targeted at extrajudicial

statements that present a serious and substantial danger of materially prejudicing this case. The

Government’s proposed order specifies that such statements would include (a) statements

regarding the identity, testimony, or credibility of prospective witnesses; and (b) statements about

any party, witness, attorney, court personnel, or potential jurors that are disparaging and

inflammatory, or intimidating. See Exhibit 2. The Government’s order also specifies that,

consistent with other clarifications in Local Criminal Rule 57.7, the order is not intended to

prohibit quotation or reference to public court records of the case or the defendant’s proclamations

of innocence. Id. This proposal is consistent with the permissible balance approved by the

Supreme Court in Gentile, 501 U.S. at 1074-75, and specific enough to provide adequate notice to

the parties and counsel of prohibited statements.

       The defendant’s past conduct, including conduct that has taken place after and as a direct

result of the indictment in this case, amply demonstrates the need for this order. As illustrated by

the examples discussed above, the defendant’s statements reasonably could have a material impact

on the impartiality of the jury pool while simultaneously influencing witness testimony. The

defendant’s repeated posts that he cannot receive a fair trial from this Court or from a jury of his

peers in this District are substantially likely to undermine confidence in the justice system, affect

the jury pool, or otherwise prejudice the due administration of justice. His misleading statements

regarding the Special Counsel’s Office and its investigation are designed to do the same. And his




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targeting of specific witnesses seeks to either bolster or impeach witnesses not before this Court

but instead in the court of public opinion before trial begins.

       A supplemental order that extends some of the prohibitions that apply to defense counsel

to the defendant himself is particularly warranted. Shortly after the indictment in this case was

unsealed, the defendant’s lead counsel began a series of lengthy and detailed interviews in which

he potentially tainted the jury pool by disseminating information and opinions about the case and

a potential witness and described in detail legal defenses that he plans to mount, including defenses

that may never be raised in court or that may be rejected by the Court before ever reaching the

jury. 21 Many of these statements by lead counsel violated Local Criminal Rule 57.7(b), which

prohibits attorneys from releasing public extrajudicial statements regarding, among other things,

“the identity, testimony, or credibility of prospective witnesses” and the “merits of the case or the

evidence in the case.” In the time since the Court admonished the parties and counsel at the hearing

regarding the motion for a protective order on August 11, 2023, see 8/11/23 Hr’g Tr. at 72, the

Government is unaware of lead counsel making any additional public statements of this nature.

The defendant, however, has persisted. The Court should therefore enter the order proposed by




       21
          See, e.g., CNN (August 1, 2023), https://www.youtube.com/watch?v=GW7Bixvkpc0;
NPR (August 2, 2023), https://www.npr.org/2023/08/02/1191627739/trump-charges-indictment-
attorney-jan-6-probe;             CNN                (August             6,           2023),
https://www.cnn.com/videos/politics/2023/08/06/sotu-lauro-full.cnn; ABC, This Week (August 6,
2023),      https://abcnews.go.com/ThisWeek/video/mike-pence-best-witnesses-trial-john-lauro-
102054360; NBC, Meet the Press (August 6, 2023), https://www.nbcnews.com/meet-the-
press/video/august-6-john-lauro-and-rep-jamie-raskin-190118469904; CBS, Face the Nation
(August 6, 2023), https://www.cbsnews.com/video/face-the-nation-lauro-phillips-krebs/; Fox,
Fox News Sunday (August 6, 2023), https://www.foxnews.com/video/6332525513112; CBS,
Face the Nation (August 6, 2023); For the Defense with David Oscar Marcus (August 6, 2023),
https://podcasts.apple.com/us/podcast/john-lauro-for-donald-j-
trump/id1536699806?i=1000623609326.


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the Government to ensure the defendant does not undermine the integrity of these proceedings by

disseminating statements defense counsel cannot make.

       B. The Court Should Issue an Order That Prohibits Contacting the Citizens of This
          District to Conduct Jury Studies Without First Notifying and Receiving
          Authorization from the Court

       The Court has already taken steps to protect the venire related to polling of prospective

jurors related to this case. At the status hearing on August 28, 2023, after the Government raised

the issue of jury studies, and the defense suggested they may “sooner rather than later” conduct

outreach to the jury pool to gather information for a potential change of venue motion, the Court

instructed the defendant to notify the Court ex parte before conducting any polling in the District

of Columbia in connection with a potential motion to change the trial venue. See 8/18/23 Hr’g Tr.

at 59-60. In so doing, the Court noted that such polling “might affect the same jury pool you are

claiming is not fair” and might “actually affect their ability to render a fair verdict by virtue of the

kinds of questions you’re asking, because questions can be phrased in all kinds of ways.” Id.

       Because of the potential prejudice that polling may cause, the Government respectfully

requests that the Court set forth a process to review efforts by either party to engage in contacts

with members of the jury venire in this District undertaken for the purpose of discussing case-

specific facts, including any pretrial survey, poll, focus group, or similar study (hereinafter, “jury

study”). 22 Specifically, the Court should (1) require either party to notify the Court before the

party—or any individual or entity acting at the party’s direction or under its control—undertakes

any jury study in this District; (2) require the completion of any such jury study no later than 30

days before jury selection begins; (3) require either party to submit the proposed questions and



       22
           At a later date, the Government intends to file a motion regarding other issues related to
the jury, including the use of a juror questionnaire.


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methodology ex parte for the Court’s review before undertaking any jury study; and (4) require

filing under seal of the name and address of each participant contacted in any jury study at least

two weeks before jury selection. A proposed order is attached as Exhibit 3.

       Such an order is consistent with the Court’s inherent authority to protect the “integrity and

fairness” of the judicial system through preventing “comments that are likely to prejudice the jury

venire.” Gentile, 501 U.S. at 1075. Though pretrial surveys are neither inherently suspect nor

uncommon in trial litigation, see Brewer v. Lennox Hearth Prods., LLC, 601 S.W.3d 704, 717

(Tex. 2020); see also Ellen Kreitzberg & Mary Procaccio-Flowers, The Law, Art & Science of

Selecting a Jury § 3:3 (2022) (noting the utility of pretrial surveys), courts nonetheless maintain

the authority to supervise and oversee their use. See United States v. Collins, 972 F.2d 1385, 1398

(5th Cir. 1992) (district court reviewed materials related to Government’s polling to determine

whether it had compromised the integrity of jury selection); Brewer v. Lennox Hearth Prod., LLC,

546 S.W.3d 866, 877 (Tex. App. 2018) (finding that pretrial surveys are “subject to review by the

presiding court in order to determine whether anything was done to compromise the integrity of

the jury selection process”), rev’d on other grounds, 601 S.W.3d 704 (Tex. 2020). If questions in

a pretrial survey are worded to advocate for a certain party’s position, or test the effectiveness of

a party’s message in addition to gathering information, they can have a potentially prejudicial

effect. See Brewer, 601 S.W.3d at 726 (“A campaign of disinformation, in whatever form,

undermines the sanctity of the judicial process and is inimical to the constitutional promise of a

fair and impartial jury trial.); cf. United States v. Haldeman, 559 F.2d 31, 64 n.43 (D.C. Cir. 1976)

(finding that the district court did not err in relying more on comprehensive voir dire than “a poll

taken in private by private pollsters and paid for by one side”).




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        To guard against the damage that a pretrial survey could inflict on the venire—whether

intentionally or not—this Court should exercise its inherent authority here. At least one district

court has a standing order that requires the parties to provide advance notification “[w]hen the

party decides that it will, or is likely to, commission” a pretrial mock trial, focus group, or similar

study of the jury venire. See The Honorable Ron Clark, E.D. Tex. Standing Order RC-47 (Aug.

11, 2010). An order of this type “do[es] not prohibit use of surveys as a litigation tool” but instead

“regulate[s] the practice . . . by (1) requir[ing] pretrial notice of intent to conduct such a study; (2)

requir[ing] disclosure . . . of the methodology; (3) temporally limit[ing] proximity to trial; and (4)

requir[ing] in camera submission of each participant’s name and address in advance of the pre-

trial conference.” Brewer, 601 S.W.3d at 726 (emphasis in original). The Government has

attached a proposed order that contains these features.

III.    Conclusion

        Consistent with its obligations to guard the integrity of these proceedings and prevent

prejudice to the jury pool, while respecting the defendant’s First Amendment rights, the Court

should enter the proposed orders imposing certain narrow restrictions on the parties’ public

statements regarding this case and governing any jury studies the parties may undertake.



                                                          Respectfully submitted,

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                                                          Special Counsel

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                                                          Room B-206
                                                          Washington, D.C. 20530



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                      Exhibit 1 (Sealed)




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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         *
                                                  *
           v.                                     *     CRIMINAL NO. 23-cr-257 (TSC)
                                                  *
 DONALD J. TRUMP,                                 *
                                                  *
                 Defendant.                       *
                                                  *

                                              ORDER

       Having considered the parties’ filings, and mindful of the Court’s responsibility to protect

the fundamental right to a fair trial by impartial jurors from comments that are likely to influence

the outcome of the trial or prejudice the jury venire, see Gentile v. State Bar of Nevada, 501 U.S.

1030, 1075 (1991), upon the Court’s finding that a narrowly tailored order governing extrajudicial

statements by the parties is the least restrictive measure to protect this process from materially

prejudicial outside interference, and pursuant to Local Criminal Rule 57.7(c), the Court orders as

follows:

       1.       The parties in this case and their attorneys are prohibited from making or

authorizing statements to the media or in public settings, including through social media, that pose

a substantial likelihood of material prejudice to this case. Such statements include, but are not

limited to, (a) statements regarding the identity, testimony, or credibility of prospective witnesses;

and (b) disparaging and inflammatory or intimidating statements about any party, witness,

attorney, court personnel, or potential jurors. The defendant is also prohibited from causing

surrogates to make such statements on his behalf.

       2.       Consistent with Local Criminal Rule 57.7, this prohibition does not preclude the

defendant or his attorneys, agents, or others acting on his behalf from (a) quoting or referring




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without comment to public records of the court in the case; (b) announcing the scheduling or result

of any stage in the judicial process; (c) requesting assistance in obtaining evidence; or (d)

announcing without further comment that the defendant denies the charges.




                                                     HON. TANYA S. CHUTKAN
                                                     UNITED STATES DISTRICT JUDGE




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         *
                                                  *
         v.                                       *     CRIMINAL NO. 23-cr-257 (TSC)
                                                  *
 DONALD J. TRUMP,                                 *
                                                  *
                 Defendant.                       *
                                                  *

                                              ORDER

       Before the Court are the parties’ filings regarding pretrial surveys. Participation in a

pretrial survey, poll, or similar study (“jury study”) increases the risk that otherwise qualified

members of the jury pool will be disqualified from jury service either through participation in the

jury study or through other extrajudicial knowledge concerning the facts of the case or the law to

be applied. Mindful of the Court’s responsibility to “take such steps by rule and regulation that

will protect” pretrial and trial proceedings “from prejudicial outside interferences,” see Sheppard

v. Maxwell, 384 U.S. 333, 363 (1966), the Court orders as follows:

       1.      Either party must notify the Court ex parte before the party or any individual or

entity acting at the party’s direction or under the party’s control undertakes any jury study in the

District of Columbia.

       2.      Any such jury study must be completed 30 days before the start of jury selection.

The notification must include (a) a brief description of the intended methodology; (b) all questions

that will be asked in the pretrial survey, poll, or study; and (c) the expected number of participants.

       3.      The party may not begin the jury study until it is approved by the Court, and no

party may use the results of any jury study unless it has been approved in advance by the Court.

In order to safeguard the sanctity of the judicial system and ensure the constitutional promise of a




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fair and impartial jury, the Court may require the party to edit or remove portions of the intended

jury study.

       4.      The party or parties who commission the jury study must retain the name and

address of each participant contacted. The party or parties who commissioned the survey, poll, or

study shall supply the names of all participants to the Court at least two weeks prior to jury

selection.




                                                     HON. TANYA S. CHUTKAN
                                                     UNITED STATES DISTRICT JUDGE




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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v.                                                          Case No. 1:23-cr-257-TSC

DONALD J. TRUMP,

      Defendant.
________________________________/

             PRESIDENT TRUMP’S REPLY IN SUPPORT OF MOTION FOR
                EXTENSION OF TIME TO FILE PRETRIAL MOTIONS

        After setting trial in this matter for March 4, 2024, the Court indicated that it would create

an initial pretrial schedule without argument, but that “[i]f the parties have conflicts or other issues

with the schedule other than the trial date, [a party] may file a motion to alter those dates after

consulting with opposing counsel regarding alternative dates.” Doc. 38 at 56.

        This process is typically uncontroversial, with the government routinely agreeing to

reasonable extensions of pretrial deadlines, especially where—as here—a requested extension

would have no impact on the trial setting. With good reason, as the government’s “interest . . . in

a criminal prosecution is not that it shall win a case, but that justice shall be done.” Berger v.

United States, 295 U.S. 78, 88 (1935).

        Not so here. Aware that its case legally insufficient and subject to dismissal, the prosecution

casts the mandates of Berger aside, cynically hoping that it can obtain a conviction by denying

President Trump his constitutional right to present a defense, including through motions addressing

fatal deficiencies in the indictment. The Court should reject these improper, irregular, and

unconstitutional tactics, and grant the Requested Extension, consistent with ordinary order.




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                                           ARGUMENT

       Acting as though this were a mine-run case proceeding along a well-worn road, the

prosecution claims President Trump should need no more than two months to submit pretrial

motions. The prosecution knows better. This case is the first of its kind in American history. Many,

if not most, of President Trump’s motions address wholly unique areas of the law that have never

been litigated. To lodge these motions properly, counsel requires time to fully research and develop

each issue and apprise the court of relevant authorities.

       For this exact reason, Fed. R. Crim P. 12(c)(1) allows liberal extensions of the pretrial

motion deadline, which does not exist to limit a defendant’s right to present motions, but rather to

facilitate decisions in advance of trial—an objective the Requested Extension fully achieves by

placing the deadline nearly three months before jury selection.

       Unable to dispute this, the prosecution grasps at straws, claiming the Requested Extension

would result “in a cascade of conflicts” that would somehow “delay the trial until [President

Trump’s] preferred 2026 trial date.” Doc. 66 at 7. In support, the prosecution argues that pretrial

motions must be submitted by the current deadline, or else there will not be enough time to address

other pretrial issues before jury selection begins. Id.

       Yet the prosecution’s own original scheduling proposal contemplated far less time between

the pretrial motion deadline and jury selection—a total of just 56 days. Doc. 23 at 2. Amazingly,

the timeline the government once championed as providing ample time for “the Court and parties

to fully litigate any pre-trial legal issues,” id. at 1, is now “unworkable,” even with an additional

month. Doc. 66 at 8. The reason for this sudden reversal is plain—the prosecution’s only interest

in this case is not justice, but undermining its administration’s primary political opponent, and the

leading candidate in the 2024 presidential election. To do so, it is more than willing to contradict



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itself, “strike foul” blows, and employ “improper methods calculated to produce a wrongful

conviction.” Berger, 295 U.S. at 88.

       In truth, although President Trump vehemently objects to the current trial setting, the

Requested Extension will have no effect on it, and the notion that a 60-day extension of a motion

deadline would “delay the trial until . . . 2026,” Doc. 66 at 7, is absurd on its face. Indeed, if the

Court grants the Requested Extension, nearly nothing else in this case will be affected. The new

deadline would still be before any other briefing deadlines in this case, including 19 days before

the current deadline for motions in limine and suppression motions, and over a month before

proposed jury instructions are due. 1 Rather than “vitiate the organizational principles underpinning

the Court’s selection of interim dates,” Doc. 66 at 7, the Requested Extension would allow counsel

the time necessary to ensure that all questions are fully researched, examined, and briefed.

       As the Court is aware, defense counsel has devoted significant time and effort preparing

comprehensive filings addressing numerous weighty issues of first impression that go to the core

of our system of government and our most deeply held Constitutional rights, including in our

extensive motion to dismiss filed today. President Trump intends to do the same with his remaining




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 The prosecution relatedly argues that the Requested Extension should be denied because “pretrial
motions would not even be ripe for the Court to consider until January 5, 2024—well after the
deadlines for the parties to submit exhibits and in limine motions.” Doc. 66 at 7. This, however,
assumes: (1) pretrial motions must be decided before motions in limine may be filed, which is not
the case, (2) that President Trump would file all his pretrial motions on the Requested Extension
date, which is also incorrect, as our multiple, already-filed pretrial motions demonstrate, (3) that
the prosecution could not take its own advice and “at that time move under Rule 12(c) for relief
from the Pretrial Order,” Doc. 66 at 5, or (4) that the prosecution could not request expedited
consideration of any motions that it believes might affect its own future motions, especially given
the numerous motions for which the Court has already set expedited response and reply schedules,
including this motion. Finally, to the extent the Court believes the sequencing of other pretrial
events should be adjusted to account for a December 8 motion deadline, it can easily do so without
affecting the current trial setting.
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motions, and, with the Requested Extension, will continue to file on a rolling basis, consistent with

orderly motion practice in a complex case.

       The Requested Extension is a reasonable and typical accommodation that will enable

President Trump to review larger segments of the provided discovery and fully address the

complex questions raised by the unique circumstances of this case. It will not affect any other

deadlines or prejudice any party, and the case will continue to trial on schedule. Accordingly,

President Trump respectfully requests the Court overrule the prosecution’s objections and grant

the Requested Extension.

                                         CONCLUSION

       For the forgoing reasons, as well as those set forth in the underlying Motion, President

Trump respectfully requests that the Court grant the Requested Extension and allow the parties

until December 8, 2023, to file pretrial motions.


 Dated: October 5, 2023                                 Respectfully submitted,


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